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Exhibit 1 to Exhibit A

[Wrong Debtor and Modify Amount Claims]
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9¢ JO Laseg

PaTFIpo| *SP30IaI pure soo ,S10jqaq] ayy 0} SUTPIOD9e pajyias

90°TS9’6T$ Te}03qNng
DTT Aueduro>
0F'90¢'z$ pasmsasun, Trev Adauq NX
DTI Aueduoy
00'0FF$ pemoasuy, woTesauas) JUeEUNON]
Aweduop
99°F0L'91$ paimsasun, SadIAlag ayelodio> HAW

syunowe pounuiajapun 1o/pue payepinbryum sureyuod ulte]> sayeorpuy - ,,

‘JUeUTTETD ay} Aq Paploa Sem /CSLZT ‘OU BdTOAUT Jaye pamo JUNOUTe 0} UOTINpeal sPaljor JUNO
sv Aysadoad st wre] ay} ysTyM suTese (s)10}qaC] AY} SPafJaz 10}qaq] PalsTPOW ‘NOLLVOMIGOW AOd NOSVAa

LOI9Z XL ‘HLYOM LUOd

LAIWLS HOO 026

NOWIS

"V LHI90OU ‘NLLV

dTI ‘NOWIS

29 MASUVD MOTAVE O/D

"DNI

‘di0> ‘SNOLLVOINAINWOD

90°862‘61S pammdasuy) s2urppoy amyng ABsauq L&67@ FIV

‘(a7edTFHIED uoydutexy Avg pari sexay v ysnom} xe} sares shed 10}3qa(q]) povasse xe} sayes JoJ awysn{[pe spopjer yunowe

PeIPoY SP10daI1 pue syxoog ,s10}qaqj ayy 0} SuIpsIOIIe payras

DTI Auedwo>
00'00E$ paindasuy, woyeiauas) JUeUTUIMN]

se AjJadoid st wre ay] YIN jsuTese (s)I0jqaq Jyy S}aTJor J0}q|aq_PITJIPO|] ‘(NOLLWIIIGOW WOd NOSVAw

6292-19062 XL ‘DNIAYI
LS NOSwasdgl N Ste
SLLTE$ pempesuy) paprassy 10}qaq ON 0671 DNI FUNLLVARV AV

*I9]SIZII ULE]D JY} WO 9QZG Pur “SRLS “PRLS ‘ERS “SOU WIELD UT I0J payuNOdde SI gN'EEg’ZH JO BIUAIIIJIP ay] ‘Sp1OI0I pure sxO0q ,S10}qaq 0} Surps1039e pamo JuNoure syaTJa7 JUNO

PIFIPOY ‘Spr0Iaz pue sxo0 ,510}qaq] ay} 0} SuTpI0I0e payzas

se A[radoad st wyep> ayy YoTYyM ysurese (s)10}q aq] BY} SPaTJo1 101q9q PeTJIPOW :NOLLVIITIGOW wOa NOSVay

OSET-PSESZ XL ‘SVTIVa
OSELPS XOG Od
DTI AueduroD ‘DNI ‘ATddNs$
$6°7L0'€$ pampasup) SuruyAl jueuruny] | ¢0°906‘S$ pammoasuy, PaHassy 10}q9C] ON Z19z CNV ASOH UVLS# I
LNONOWV SOLVLS WOLIIa LINOOWY SOLV.LS wOLgaa #WIVID aIAVN
WIV1D ALIMONId WIVID ALIMOIad
aaidigdow GaLwassv

SUIIE[D JUNOUTY AFIPO|A] pue 10j}qQaq BU01MA — VY LIGIHXG OL I LIGIHXa ‘(HALLNV.LSANS) SASININO CUUELL-ALNAML

Te “TUOO SONIMTION WALA ADYANA
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9¢ JO z aBeg

syunoUe pauliajapun 10/pue payepinbrpun sureyuo0d uel) SoyeaTpuy - ,.

*19]SIZ91 WIL]D 3y] UO OZ9P ‘OU WIL] UT OJ PaFUTODE SI BC"EPE’YS JO BUAIaZIp oY] ‘sp1odaz pue syxoo ,S10}qQaq] 0} SuIpIODIe pamo JuMowe spayer UNO

PaelFIPOY “SP10IaI pue syoog ,S10}qaq ay} 0} SuUTp105e payzas

99°9S7$ Te103qnS
DT] Auedwop
00'09T$ peindasuy, uolereuas JURUTN]
JT] Auedwo>
99°96S (6)(a)e0s woHeIsUs) URUON]

se Ajradoad st wirey ayy ydTYyM jsurese (s)103}qaq] BY} 8}a]JaI 10}qQaq] PatIpoW] ‘NOLLWOMIGOW wOrd NOSVAY

#2 00T'L$ Te103qNS

OPSSZ XL ‘C'TSLANIVA
¥0'Zb0'7$ PpamasuQ «= palassy sioqyqaq afdyny “LS JDYTWINOD *M ZSE
0z"€S0'S$ (6\(q)e0s  paHassy s1iojqaq aidymWw 8496 AIddNS OLNV SSUIAVE

*Ia]STZII UNIETD JY] UO Q/ OPH “OU UNTETD UT IOJ PayuNodd" SI 99°9C7$ JO BdUaIATIIP at} ‘spx0da1 pue syoog ,s10j}qaq 0} Zurp10d0e pamo JuNowr spayjas yuNoweE

Papo ‘SP10I01 pue syx00q ,S10}qaq{ ay 0} SuTPsOdIe pajias

8S°EF9'9$ Te303qNg
DTT Auedwo>
$0°288'T$ peindssuy) Surly yueUunnN TT
DTI Auedutoy
FS'956'S (6)(q)eos Sura, jueupaony]

se Ajrodoad st wyepd ayy yoTyM ysurede (s)10}qaq ay} SPesar 10}qaC] PaTFIPOW -NOLLVOLIGOW YOd NOSVAY

#2 O0T'L$ Teyo}qns
‘dio
F0'LP0'Z$ painsasuy, ssurproy amyny ASauq OF8SZ XL ‘CTSA MIVA
“di0D LS JDYaWINOD M ZSE
ozes0’ss (6)(q)¢0¢ ssurppoy amyng ASzauq 0496 XATddNS OLNV SSAIAVE

PaITFIPOY ‘SP10IaI pue sxoog ,s10}qaq] ayy 0} SuTpIosIe payras

"PLOZ/c/E UO HZSF69ZOOL J2quINu yoy era pred yuNowr IoJ yuausn([pe syayjor yuNoure
se Apradoad sy wre? ay} yDTyM ysuTese (s)10}q9(] BY} SP2]J27 10149] PSTFIPOW :-NOLLVOIZIGOW AOA NOSVAu

78° LLG STIS Te}0}qns
L8°E8T'68$ pamdasuy) DT] AueduoD sdurppoH
Ipaq aataduroy sexo], 9TS9-8ZL8Z XL ‘NILSNV
OTT Auedwo5 Surpjoy O1z HLS
9ECEL‘ETS$ Pemsesuy, = ayerpawiayuy amyny Adsauyq AdXH DVd OW N ST6ET
*di0> -dio> DNI
6S'Sh6'S$ Poinsasuy) sSurploy anny ABsaugq | €2'6SF68T$ pamososul) sSuIploy amyny Asiauy 9486 =AYWHAOOSIG GAONVACV F
INNOWYV SOLV.LS WOLLHA INNOWYV SOLLV.LS WOLdda #WIVTD HAVN
WIVTO ALMIONd WIVTD ALMIOMad
QalIdow GA LWASsv

sme) JUnoMY AJIpOy] pue 10j)qQaq Su01M — V LISIHXa OL I LISIHXa ?(HALLNV.LS9OS) SOSININO CUIHL-A.LNAML

Te #2 “dO SONIGTOH TAALAA ADYANA
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9¢ JO ¢ aSeg s}UNOWre pauTuajapun J0/pue payepmbrypun sureyuod uel) sayearpuy - ,,

‘Ja}s1Zal WIE ay] UO ZZ] ‘OU WIELD UT 1OF PIyUNOIIE ST F9'066'Z6$ JO PUIaJFIp ay} ‘sp10dar pur syoog S10}qaqq 0} ZUTPIOIIE paMmo juNOWwe spa[jal UNOUTE
PaLFIpoy ‘Sp1z0daI pur syoog ,s10}qaq] AY} 0} SuTpsoIIe payzasse ApJadosd st UTEP ay} YOTYM ysuTESe (s)10}q aq ayy SpaTjer 10}gaq] PalFIpOW ‘NOLLVOIIIGOW WOdA NOSVAa

88926 VD ‘VLINVDUVAN

VINVS OHONVU

VSSHUdNa

VCINAAV T6SZz

OTT Auedu0p “dio> “DNI ‘SININOdWOD

95°908'8S7$ pampsasuy) yuautaZeuepy 2015 YEO | OF LEE'TSES pampesuy) sSurploy emyng Asseuy 7296 IOWLNOD

‘(pamo Aqradoad st Ayyiqey yeyy OY 0} Auedwos soyst3oy Ayred prnyy e sasn 103qaq) payasse saZzeyo pySraay Jog JuauTsn[pe syaTjer yuNowe
PaTJIPO| ‘SPOIaI pu" syxooq ,S10}qaq ay} 0} SuTpIOIIe payasse AyJadoard st wreyd ay} YINYM ysurese (s)10}qQac] 3Yy} SPaTJer 10}q9q_ PeLHPOW -NOILVOMIGOW wOd NOSVAU

OF'958°L9$ [e}01qns
a OTI
CH POS pamdesun, Auedwo> 13am0J Mopurg
Ty] Aueduro>
00°299°E$ peamoasuy yuawa3eurpy A015) FeO
DTT AueduroD
99°871'Se$ pampasuy) Surry yueuruany SSESZ XL‘SVTIVAG
DTI Aueduon AueduoZ 66€0SS XO ‘O'd
06'965'8z$ pampasun woresauss yueuTuN] | 79°950'89$ pampasuy) sastarag ayerod105 HAT ¢8 ‘DNIGNVIGNV Wa1Ln4

“PLOZ/0Z/E UO 9669697001 J9quINU yDayp eTA pred yuNOWe 103 yuaUTysN[pe salar yuNOUTe
P2LFIpoY Sp10d1 pue soo ,s10}qaq ayy 0} Surpioz0e paysasse Asodord st wrez ayy YT Jsurese (s)10}qGaq JY} SPaTJaI 10}qaq PatjIpOW] ‘NOLLVOISIGOW WOd NOSVAu

THOZZ XL ‘NOLISNOH
‘GATE
LISVi GNVILSIM efeeT
DTT Aueduto- -dio> ‘DNI
SS°970'C$ poemoasuyy juswiaSeury 2A0rd FLO | SE"LOl'Z$ pemoesuy) ssurploy amyng Adauq LESL TVNOILVNUALNIAVUD 4
LNOOWV SN.IV.LS YwOLdia LNNQOWV SO.LV.LS woOLdsd #WIVTID FINVN
WIVT)D ALMORId WIVTD ALMOMd
qaaiIdow GH.LYWHSSV

sue] JUNOUTY AyIPOY PUL 10jqaq Su01 A — V LIGTHXa OL J LIGMHXa *(GAALLNV.LS€0S) SASININO GTH.L-A.LNAAAL

Te 39 “TMOOD SONIG TION WAALAA ADWANG
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O¢ JO p aBeg syuNOUWe pauliajepun 10/pue payepinbirun sureyuoo wired sayeorpuy - ,,

“spx0Ia1 PUL SOO ,810}qaq] BY JO MatAaI alqeuoseal & PUL ‘OJaIBY) PayEeyeE SyUSUNDOp ay} ‘UTETD Jo JooIg SJULLTTE[D DY} JO Matar e Jad Juawysn(pe spaljor puNoWe
PalFIpoyl “sproda1 pure syxooq ,s10}qaq] ayy 0} SuIpr0d.e payzasse Apradord st wre] ay} YTYM JsuTeZe (s)10}qaq] BY} Spaljer 10}g2Q] PITPOW -NOLLVIIMIGOW WOA NOSVIa

SUIe[D JUNOUTY APIPOyA] PUL 10jqQ9q Su01AA — V LIGTHXa OL T LIGIHXd ?(QALLNV.LSNS) SASININO GTH.L-A.LNAML

T1899 “TMOD SONIG TON WALA ADWANA

00'08¢’z$ Te}01qns
LLS9L XL “ATVGNUOHL
OTI €b2 XO4 "Od
00°062'T$ peinzasup) AueduroD 1amog Mopurs TIOWLNOD
>T771 Auedwo> “di0D LSdd LVMS-V Vad
00°06¢$ pemossuy) woeIsuar) JuEUTUNT | 00°98E’Z$ pamoosuy) s8urproy amyny Adrauyq €SL  "MXAHNCOUW‘ATAANAINT Cr
‘payoddns jou sem Junoure pawl ‘sp1odaI pure sxoog ,810}qaq
0} Surpi029e pamo yunoure (z) pure ‘Ajaarpadsaz ‘Ee 107/E7/ZL PUR ELOZ/IZ/S UO Z6ELR9ZONT PUL S6ZE99TZOOL SI9quunu yay) era pred yunoure 103 prawysn{pe (fT) sparjar yuNOwe
PalFIpoy “spro0raI pue syxoo ,S10}qa(] ay} 0} SuTpIOI0e paylasse AyIadoard st wreypd ayy YOrYyM ysurese (s)10}qQaq] ayy SPeTJer 10}qaq] PalJIPOW ‘NOILVOMIGOW AOA NOSVIU
OF 678'67$ Te103qns
DTT Aueduto>
00°096‘0T$ pasnoasuy) Trey Ad1auy XL. L¥@SL XL ‘SVTIVG
DTI Aueduro5 MOU AOTIFINVHD 8068
OF'6T6FI$ pemossuy) woHPIduay JueUIUINT SVWOHL XATIIA ‘NLILV
Auedurop *dio> DNI
00°0S6’E$ peimdesuy) SadTAISG aje10d10D HAA | S8'bES‘T9S pommossuy) sSurploH amyng Adraugq 7298S SYORELINI FAIMG NOC _ IL
"ELOZ/EL/ZL UO HES9S9ZOOL J2quMuU yaypP era pred yunowe 10; yUausn[pe spaTjar JUNOW
PITIpoy ‘Sp10da1 pue syooq ,sI0jqaq ay} 0} SuTps10I9e paysasse Ayrzodoid st ure[D sy} YIN Jsurede (s)10}qaq] BYy SPa]Jor 10}qaq] PeTJIPOW! -NOLLWOIAIGOW Od NOSVAw
cOTL
“LP9SL XL “WALVMACV1D
e0Tl XO"d Od
OT1 AuedutoD “d10D ITI SNOLLNIOS
o0"Ssss$ Pommdasuy) sural jueuruny | 00"sso‘ts pemdasuy) sSurlploH amyny Adiauq 8009 ONINVATD SSOW)D OT
INNOWV SNIVLS woLdid INNOWV SOIV.LS woLad #WIVID HAVN
WIVTD ALnIONd WIVTD ALMOMd
qaHidow da DWassv
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9¢ Jo Gade

syunoUle paunmiajapun Jo/pue payepinbipun sureywod weld saqywdtpuy - ,,

‘(eyeITFYIBD uoyduaxy Avg Pas sexo], & YSNomyY xe} sapes sAed 10}qQaq]) Payasse xe} Sayes 103 yusuTjsnfpe sparjar yuNOoWwe

PaelFIpoy ‘Sp10Ia1 pue yoo ,S10}qaq] 9y} 0} SuTpsI09e payas

se Aqzadord st wirep ay} yor ysurede (s)10}qaq_ AY} SPa[Jar 10}qaq] PIIF{POW ‘NOLLVOIZIGOW WOd NOSVIN

SUIIe[D JUNOUTY AJIpOy, pue 10}qQaq SU01M — V LISIHXS OL T LISIHXa :(AALLNV.LSS0S) SASININO CYIHLL-A.LNAML

T8 39 “dUOD SONIGTOH WALLA ADWANGA

ST'EZ6'8$ Teoqng
OT] Aueduro5 00z9
Z8°9S6'TS permoasuy) yuauadeuey] 2A015 FLO ~-2£0S2 XL “TIVMMDOU
OT1 Aueduto5 ‘dio> CAT@ AUTAODSIC S262
9£°996'9S pampsasuy) UOHPIaUSs JURUTUIN] | 98'C0L'6S pemsasuy) sSurploy ainyng AB1ouq foST INI OD 2 GTHIILVH FL
“spioza1 pure syxoo0q ,S10}qaq 0} Surp10d9e pamo Juno sparjor pNOWeE
PaIIPO|] ‘Sp10IaI pue syxoog ,s10}qgaq ayy 0} BuTpi039e payiasse Apradoid st wre]? ay} yYINyM Jsurese (s)10}qQaq_ JY} SPaljas 10]Gaq PeTFIPOW ‘NOLLWOMIGOW wOdA NOSVAY
cTss
-Sh0ES IM “A THIDIOOU
DTI AueduoD ‘dio> UC ANAS sz
98°E£0'87$ Pamoosuy) Teyy Ad19uy XL | 00°000‘THS pemsasuy) sZurploy amyng ABrauq 826E AMGSTT  €T
INNOWYV SOLV.LS wOLGdda INNOWV SM.IV.LS woLaid #WIVTD HAVN
WIVTD ALMIONId WIVTID ALMONd
qaHIdow Ca Lyassv
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g¢ Jo 9 aBeg

syUNOUe pauTuJejapun Jo/pue payepmnbryun sureywod unreyd sayeo1puy - ,,

*Ia}sTBar WTe[D

ay} UO B9/¢ ‘OU WIELD papusuwe ay} UT I0J payuNorK SI YFG6‘ETT$ JO JUNOUTE (6)(q) EOS ay} JO adUaIazIIp ay} ‘sp1odaz pue syxoo ,$10}qaq] 0} BUTPIODIe paMmo JuNoUe sya[Jzar JUNOUTE
P2TJIPO| ‘SpsOda1 pue syxoo ,S10}qaq] 3Yj 0} SuTpI0IIe paysasse Apradoad st wrep ay} YDTY ysuTese (s)J0}qQaq] ay} SPaTJar 10}qQaq PetIpOW -NOLLVOIIGOW WOd NOSVAUX

POSOT AN “SINOWYV
807 HLINS “AAT

Vd SSANISNG 08
DNI
OD JNIHOVA AVMHDIH
MOWASNVUL
DTI ‘Ii SYANLUVd
LIG2YD UVNOS
(OL GIMAGISNVUL
00°080‘FS9$ Teqo3qns
029Z% NI ‘NOLADNIYd
“dio T? AMH §N C'lO S O10
00°OFT‘OSE$ pamaasuy, sdurploy amyng Adsauq WANS LANV[ ‘NLLV
DTI Auedwop ‘di0D >NI
00'ObT‘OETS pampesuy) Sur] yueunany | 00'0re’ezz$ (6)(a)e0s sSurploy amyny ABsauyq TzZ9€ OODANIHDVNAVMHDIH ST
LNOQOWV SQLVLS wOLGIa LNOOWY SNLV.LS WOLIIAG #WIVID qAWVN
WIV1ID ALO WIV1D ALIMONd
dalq1IGOW Ga Luassv

SIE] }UNOUTY AjIpOy pue 10jq9q Bu01M — V LIATAXA OL 1 LIGIHXa ?(ALLNV.LSA0S) SAdININO CUTHL-ALNAAL

Te #9 “duOD SONIGTOH WALA ADWANA
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9¢ JO Z a8eg

0S"688'T$ Te}0}qng
TL'6€1'TS (6)(q)e0s
6L'6PLS (6)(q)e0s

DTT Aueduro>
woyeIaWa*) JURULUIN']
Aueduo

SddAIaG ayer0d10D HAy

0s'280'7$

00°861$

0S'688‘T$

s}UNOWe paurUiajspun 10/pue payepmbipm sureyuos wield sayeorpuy - ,,

Te1o1qng

Ayiond

(6)(qe0s

"Sp1o0da1 puke Syxood ,S10}]qaC] 0} Surpi033e PeMo JUNOWE Spo9[jor JUMOWe
PeTIpoy “Sp1os91 pue syxood ,S10}q3ICJ YY} 0} Surpio20e poHasse Ayzedoid ST UZEe]TD 94} GOnM ysurede (s)10}q9q IY} SPs [Jal 10}Qg9q PelJIPOW -NOLLVOMIGOW wool NOSVAY

Auedu0
SadTAIVG ayelodio> HAA
Auedwo>

SODTAIIG ayerodio0> HAH pers

9€90-££092 XL “ANANGATD

969 XO4 Od
OO TIO LYAGINVT ZT

wiTe]D Jo Joord ayy YIM pally WoEeyuaUMNIOp ay} pue Sp10daI puK syxoog ,s10}qaCqq] 0} SuUTp10I9" pamo JuTLOWe ayy ya[JZaI 0} WITS JO woyepmMby $9131 yunoure
PalJIPOY ‘Sp10IaI pue sxO0 ,SIOJqaq ayy 0} SuTps099~ paysasse ATIadoid st wTep ay} YTYM Jsurese (s)10}qQaq JY} SPITJoI 10}qQaq] PelFIPOW ‘NOLLVOLMIGOW wOjA NOSVAu

8Z0EE’Z$ Te303qnS
DTI

00°EZE’LS painsasuy) Aueduio> 1amog Mopues

TT Aueduro>
00'F0E’Z$ pemdoasug) yuawmaseuryy 2A015) ARO

JTT Aueduso>
OL PIES pampasuy) Sururyyy yeu]

DTI Aueduro>
ET 9IZ$ peimoeasuy woyeriauss) JueUNUONy]

DTI

86°6Z1$ (6)(q)e0s AueduroD emog Mopues

DTI Auedwoy
ST'S8E$ (6)(q)e0s yuauaZeuRy] 9A015 FLO

311 Auedu0> LW7SL XL ‘SVTIVG
88°ZETS (6)(q)¢0s Sur] yueurun] HAV GNOW TV €F8?

DTI AueduoD “dioD AlddNS WALA MOTYVH
88°996'TS$ (6)(q)e0s woyesauasy yoru] | .86'7L9'7$ (6)(4)e0s ssurploy amyny ABsauq P6IZ Vad MOTYVH aiaf OT

LNOQOWV SO.LV.LS WOLGIa INNOWY SOLVIS wOLIId #WIVID aWVN
WIVID ALIMORId WIV1D ALIMONId
dalgIGOW Ga Laassv

Sue) }UNOUTY APIPO|] pue 10;qQ9q Su01M — V LIGTHXA OL T LIGTHXa ?(AALLNV.LSA0S) SASININO CUIHL-ALNAALL

Te 39 “TMOD SONIGTON FAALAA ADWANA
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9€ JO gaseg syuMOWe paunaiajapun 10/pue payepmmbrun sureyuod wep? sayesrpuy -

"yT1 Auedwoz Arata s199]q 109K “AWWW 10}qaq-uoU eB Aq paMmo st ‘Aue

Ji ‘AWPIGeT yeyY aaatjaq s10}qQaq] BY], “101Gaq HAA UE 0} pazepar jou st yey} AyTIqey payzasse ue (fF) pue “Taster UITETD ay] UO GOT “OU WIEPD UT JOZ payuNOIdE 99°06G‘E$ JO BUaTAISTP
ay (¢) ‘Ajaaqpadsan “F10Z/0Z/e PUR “HLOZ/LI/Z “PLOe/S/z “BLOT/EE “ELOZ/OE/L ‘ELOZ/EZ/T ‘TLOZ/SZ/L UO OZFIGITZOOL PUL ‘TSTEGITZOOT ‘S80Z69ZOOT ‘O9LTE9ZONT “68ZZ89Z00T ‘Z67L89Z00T
“BRSEZSZOOL SAoquINuU yay era pred syunowr (z) ‘(ayesTFIWIAD uoyduaxy Avg por sexay v YSnoryy xe} safes shed 10}qacq) payasse xe} sayes ([) 10J yusuyjsn({pe syaTjor yunowe
PaYIpoy “sp10da1 puy syoog ,$104qaq] By} 0} Surpsosde payrasse Apradoad st urrep ayy YDTYM ysurede (s)10}qacq AY} SPaTJar 10}qaq] PoTFIPOW! ‘NOLLVOMIGOW Od NOSVIY

Sule, JUnoWY AyIpoy] pue 10jGQoq Su01M — V LIGTHXa OL | LIGHXa *(AALLNV.LS€0S) SASININO CRHLL-A.LNAMAL

Te 29 “dUOO SONIMION WALA ADWANA

Z9°9E6 TTS Te101qng

DTI Auedwo5 LL¥L
TS'001’8$ painoasuy) yuamaseuey] aA0s5) FLO -l0zse TV ‘NVHONIWNIG
DTI Auedui05 ‘dio LL¥L XO Od

TL'9€8’9$ pampasuy) woneisuasy yuRUTUNT | £6°L0S‘17$ pampasuy) sSurploy amyng Adsauq gs6z SAIMLSNGNI NOLLOW 02
“sp10daI PUe SxOOg ,S10}Gaq] ay} JO MAaTA|I aTquuoseal ¥ pur ‘oJaI9q] PayeHe syuUaUINIOp au} ‘WITETD JO JOOIY SJULWIELD ayy JO Mataal e rad yusuysn{pe sparjer yunoure
P2JIPoY ‘sp10dax puke sxOoq ,S10}q9C] ay} 0} Surpsrooe payasse Apradord st wyepD ayy yoryM jsuTese (s)10}qQaq] ayy Spaljaz 103qaq] PalsIPOW] -NOILLVOIZIGOW WOA NOSVA
0170-69264 XL “VSSAdO
01269 XO Od
DTI AveduioD “dioD SIMOLYOLVI

00'FE9S pammasuy) worerauasy yueuTUN] | 00'F69$ pammsasuy) s3urploH eanyng Adiauyq ZSO0T. TVOLLATVNV ATIGOW 61
“p10Z/c/z UO ZLSI69ZONL Jaquinu yDayp eta pred yuNowe Jo; yUaysnlpe syaja1 yNOWwe
palyIpoy *spiodal pue s\jooq :S10}G9q 3q} oO} Surpi020e PeHesse Ajzadoid st wiTeps 3q} YSTYM ysurede (s)z0jqaq ou} spo jor 101949, pslsyTpoy] -NOLLVOMIGOW WolA NOSVHAW
00"9€0'S$ Te103qng 00 TSe's$ Te}03qng 10920 (N “IDVWSNIMOVH
ze ALINS
DTI Auredwo ‘dio ‘VZV 1d ALISMAAINN TF
00°S9Z’E$ painsasuy) Surury yueuTUNT | 00'086'E$ pampasuy) ssurppoy amy Adrauq DNI “OD “DAW LAAN
DTI AueduoD *di05 IO FANDISSV SV ‘DNI

00'TZ7’T$ (6)(a)eos uoyesauasy JueuTNy] | 00'TZ7'TS (6)(q)0¢ ssurploy amyng Adiauyq T9E ‘SNOILNIOSALIGINOII 8st

INNOWV SO.LV.LS wOLaia INNOWV SOLVLS WOLGIa #WIVID AIANVN
WIVID ALIMOMd WIVTD ALMOMNd
qaidgIdoWw dalwassv
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9¢ Jo 6 aSeY S}UNOUWe paurUsjapunN Jo/pue payepmnbrjun sureyuod urepp sayesrpyy - ,,

‘(ayeo gD uoydutaxy Aeg pan sexay e Ysnoryy xe} sazes shed 103qaq]) papasse xv} saes 10J yuouTYsN[pe spajor yNOWe
PalJpoyy ‘spr0saq pue s00q ,810}qaq ayy 0} SuUTps0s.e payzasse Apsadoad st wyey? ay} YoryM ysuTESe (s)10}qaC] BY} SP9]J91 103}Gaq] PAIPCW ‘NOLLVOLIGOW YOd NOSVAa

80804 V1 ‘ADNOU NOLVA

HANG OAGVDTAC FEL

INACISAYd ‘ONV ISA

ADYOIAD ‘NLLV

DTI Auedwo5 “dio ‘ONI “ADIAMAS

¥0'T99‘99$ pampasuy) woHeIaua®y yueUTUMN] | ZT PPL‘99$ pamsesuy sSurppoyy amyny Adsougq SLOE HATVA ALID WAAL

‘Ja|stBad UTED ayy UO HZ0Z “OU WATETD UT 10J PayUNOIIe ST 96°FET'H9$ JO BOUDIAgFIP ayy ‘sps0da1 pue syxooq ,S10}qaC] 0} SuTp1OIIe pamo JuMOuTe spoa|jas yuNOUTE
PaTFIPOY “SpOdaz pue syxooq ,S10}qaq] BY} 0} ZuTpsodIV poyrasse Ayiadord st wrep ayy YRYM ysurese (s)10}qaq] BY} SPaTsar 10}qaq] PalFIPOW ‘NOLLVOIGIGOW Od NOSVAN

OZ 8FS‘SFS 1e103qnS
DTI Auedurop €IZS-ZO9EE 1d “VAWVL
ZPIST’SS$ pampasuQ, juawaSeueyy aa0ry xO 002 ALS
DTI Auedwo5 CATS LAODS AO M Of0F
¥2'206'6$ painsasuy) Sur, Jueurwny] ‘DNI “VORTEINV
DTI Aueduro;) HLYON SNDLLV V/AI/N
PS'F6b$ pampasup) woryelauasy JuRUTWN] | OT'E8Z‘Z1I$ painsasuy) poyassy J0}qaq ON ZPI9 {anv sad

“Ia}StFa1 WIETD ay} WO YEYS ‘OU WIT UT OJ PayUTNOIIe ST G0'Z19'6$ JO BIUAIAZFIp ayy ‘sp10da1 pue syoog ,S10}qaq] 0} SuUIpr0d3e pamo JuNoure s}a]Ja1 JUNO
PaFIPO| *SPz1OIII pure syxoog ,S10}qaq ayy 0} ZuTpr029e payzasse Ayiado3d st wereys ayy YoTyM JsuTese (s)10}qaq] JY} $}9]JeI 10}qaq] PSTJFIPOW ‘NOLLVOIMIGOW WOdA NOSVAA

5606) HO ‘ASHDNOTIIM
AVMWUVd
NNVWVH 066
yT1 Auedwo5 "dio ATOIDO NVA -N.LLV
00'°082$ pammdasuy) uoresauasy yueUTNT | 60°26S‘0T$ pammoasuy) ssurp[oH amyny Adiauq OLLI ‘ONI ‘SAMIOGNNAN IZ
INNOWV SOLVLS woOLaa INNOWV SN.LV.LS wOLasa #WIVID HIANVN
WIV1D ALNIONId WIV1D ALIMOMNId
aa iIdow Ga Laassv

SUE]. JUNOUTY AFIPO|| Pue 10}Goq| Su01MA — V LIGTHXA OL I LISMHXG *CAALLNV.LSANS) SASININO CYIH.L-ALNAML

Te 99 “AAOD SONIG TION AAALLAA ADWANA
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9¢ J0 OT a8eg syunowr paunmiajapun 1o/pue payepmnbrpun sureyuo) wreyd sayesrpuy -

"1ajstZai WIE ay} UO {EOE "OU WATTS UT IOJ payUNOIE ST ZZ"FRE‘OPLY JO AUIIIIFIp ay] ‘sprova1 pue syoog ,s10}qaqj 0} ZuUTpIode pamo JuNoUe sparTyer JuNOWe
PILIPoY Sp10da1 pue syoog ,S10}gaqj ay} 0} Surps0gIe payzasse Ayradoad st wrep> ay} yoTYyM ysutese (s)10}qaq] ayy $}9TJ9I 10]qaC] PITPOW| ‘NOLLVOLIIGOW WOdA NOSVAa

SUIe]D JUNOMTY AJIpOYA] puL 10}q9q 301K — V LIGIHXA OL T LIGVHXa ?(AALLNV.LSANS) SASININO CUIELL-A.LNAML

T2899 “dUOD SONICTON TAALAA ADWANA

TO9OT AN ‘SNIV' 1d 1LIHM
LOF ALS LS GNVUD OST
‘DNI SHUOM ddOWTaIM
Od JANDISSV SV
JT] Auedwo> Auedu0D d1 GN Lida

9L'9F6'6$ (6)(q4)e0s juoursdeury] 24015) YEO | 9s OEE‘OSTS (6)(q)¢0s sadrarag aye10d10) HAA 8E9E SYINLUVd HONNVL ZZ
yT1 Auedwo 5 Araaraq 317927y, 109uGC ‘AWWA 10}qaq-uoU e Aq pamo
st ‘Aue Jt ‘AWTIGET Jey} aAatjaq s10\qaq] IY} /2[qeT] JOU are SIOJqaq] ‘sp10Iaz Pure S00 ,810}q aq] 9Y} 0} BuLprOIe “YSTYM IOJ wTeD ayy JO pred au} 105 yuswysnl[pe sparse yunowe
PatFIPOY ‘Spr1OdaI pur syxooq ,S10}qaq{ Fy} 04 Surpioove payasse Ayradord st wre] ay YSTYM ysurede (s)0}qaq] AY} SPaTjar 10}qaQ] PATFIPOW ‘NOLLVOLMIGOW WOA NOSVaAwt

os"06¢T$ Te101qns

311 Aueduop 618T-STZ6E SI ‘“NOSMOVI
OL'zez$ painoasuy) yusuTaSeury] 2A0ID ALO 6L8E XOd Od
DTT Auedmop ‘dio AGU LUWALS

OL'89T'TS posnoasuy) SururA yueuruany] | OF oFFETS peanpasuy) sSurppoy amyng Adan TZ0L ODAMILDLUVALS 92
*(pamo Aysadoad sz Aqyrqer yeyy Woy 0} Aueduros soysr3o] Ayed pry e sasn 10}qaq) payasse saSzeyp Jy Stary 10J yuauysn(pe sya[Jor yUNOUTE
PalFIPoY ‘Sp10daI pue syxOoq ,S10}qa(q BY} 0} SuTpsOIe payzasse ApJadoad st wuTeT ayy YOM ysuree (s)10}GQaq] BY} Sajal 10349] PalsIPOW -NOLLVOLIIGOW WOd NOSVAa
OFZPT AN ‘OTVAdNA
69€ XO Od
oodand o/d
DTI AueduroD ‘dio sLondowd

00°8£0‘%$ pemoesuy) uoHesauasy JURUINT | 6°260'7S painsasuy) sSurploH emyny Adiaug zslé =NOLLVOMILNACI NOLS Sz
-Ayred piryj 10}qa(]-WoU B 0} passarppe SdITOAUT OM] S}I[JoI BIUIIAFJIP ayy ‘Sp10da1 pue soo sio}qaq] 0} Surpro0d9e pamo yunowe spares yunowe
PalJIPOYY ‘Sp10Ia1 pure syx00q ,810}qaq] By} 0} SuTp10z0e payzasse Ayradord st wrep sy} YIM Jsurese (s)10}qaq] 9yy S}aTJal 10}qQaq PalsIpoW ‘NOLLWOLMIGOW wOlA NOSVA
SZ0S4L XL “‘ONV 1d
68€0Sz XOM Od
DT] AueduoD ‘dioD DNI

86'LE1'Z$ paindasuy) WOTEIaUIs) JURUTUINT | €6°6E0‘E$ painsasuy) ssuIppoy amyng Adouq 86ze  SIWHISAS NATIN-ALSIVS FZ

INNOWY SMLLV.LS wOLada INNOWY SN.LV.LS wOLda #WIVID HAWN
WIVTD ALMOMd WIV1D ALMOMd
CaiqIGOW CH LYaSSV
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9¢ JO TL aseg

PelFIPoY ‘Sp103a1 pue syxoog ,s10}qaqqJ ay} 0} Surp3039e payias

s}uNOUe paunuiajapun 1o/pue payeprnbryun sureyuod WTe]D sayedTpuy - ,

“Sp10da1 pue Sx00g ,$10}qaq] 0} SUTPIOIOe PaMo JUNOUWe speTjer JUNOWe
sv Ayradoad st wre ay} yOTYyM ysurege (s)30}qaq] ayy SPaTJar 10}qaq PalyIpoW ‘NOLLVOIMIGOW Od NOSVAU

POCLTS qTe}03qnS
‘dio L0€0-980S2 X.L ‘ONV'ld
ZL'98$ pampesuy) sSurpyoyy amyng AB Z0€098 XO Od
171 Auedwo> *di0D OD Alddns
ZE'98S (6)(q)e0s yusmadeury] PA0ID ALO | ZL'98$ (6)(q)e0¢ sSurploy ammyng ASszauy PESE DIMLOATA WODATAL OF
*1a}S1BdI WIE) 9y} UO £C/p “OU WIE[D UT LOJ PayUN0DIE SI OF ZOL‘RES JO 2UaIazFIp oy} ‘sp10daI pue syxoo ,SI0}qaqj 0} ZuTProsv pamo JuMOWe spaTjal MOU
PeTstpoWy “SPpAODII PUP SOO, ,S10}qeIq oy} QO} Surpi033e popesse Apadord ST UWTeP 94} YOM ysurese (s)z0jqaq oy} Spa3]Jo1 10394? PerxpoW *NOLLVOLMIGOW wOI NOSVAA
TO90T AN ‘SNIV'Id JLIHM
Tor 3LINS
‘LAMLLS GNVUD OST
duo
AIddNS WOATANOD
CaALINN WOd JANDISSV
DTI Auedu0D “di05 SV d1 GNI LIidzUD
08°FS7'9bS (6)(q)€0s quawadeuey] aa0r FLO | OT TICES (6)(a)e0s sSurployy amyny AS1auy OSLP SYANLUVd WONNVL 62
*Ja}STB9I UTED JY} UO 9G/E “OU WIE]? UL IOJ payuN0rde SI FGE'GLS‘Z$ JO BUAaIaTIp ayy ‘sp103a1 pure syxooq ,s10}qaq] 0} Surpro0d.e pamo JuMouTe sPaTjar JuNOUTe
PITFIPOY ‘Sp109az pue syoo ,s1O}gaq ay} 0} SuTpI0IIe paysasse ApJadoard st wre] sy} YONM JsuTEseE (s)I0}qQaq] BY} SP2]JeI 10}qaq PetFIPOW ‘NOLLVDIWIGOW WOd NOSVAY
TO90T AN ‘SNIV'1d J.LIHM
LOP LS LS GNV¥YD OST
NOLLNSMLsia
TIVWaAMOd
WOd FANDISSV SV
DTI AueduroD “di0> dT GNNi LidayD
S9°SS0‘ZT$ (6)(q)e0¢ Suruyy] yueuTuN] | 6S°SZS‘7$ (6)(q)€0S sSurploy amyny ABrauq SSZE SUINLUVd YONNVL 8
INNOWV SO.LVIS wOLaaa INOQOWV SOLVLS WOLIIa #WIVID aINWN
WIV1D ALIMONId WIVID ALIMOMNd
aaidIdoW Galwassv

SUe[) }UNOUTY AJIPOY pur 10jqaq 3u014 — VY LIATHXd OL T LIGUHXa *(HALLNV.LSS0S) SAGININO CUIHL-A.LNGAL

Te? “ddOO SONIGION WAALAA ADWANGA
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9¢ JO ZL ade

syUNOU pautuiiajapun Jo/pue payepmmbrpun sureywos unrepd sayeoipuy - ,

“spi0d91 pue sxo00q S10}qaq] 0} SUTPrOIe pamo juMowe s}ra]Jar JUNOWe
ParJIPOY, ‘SpIoIa1 pue syxoog ,$10}qaq] Fy} 0} Surpr09se payasse Ajradoad st wep ayy ySTYM ysurede (s)10}qac] ayy Spafjer 10}q9q PITPOW *NOLLVOMIGOW AOd NOSVAU

OS'ecss Te101qnsg
‘dioD L0€0-980SZ XL ‘ONV1d
SLOLbS pampasuy) sSurploy amyny Adrauy Z0€098 XO ‘O'd
DIT Auedur0D *dx05 ANVdWOD ATddNS
SLOLb$ (6)(q)e0s woyerauasy ueurmny] | SLOLbS (6)(4)¢0s sSurploy amyny ASi0ug TPE DIMLDATI WODATAL €€¢

PalIpo|| ‘Sp10saI pur syoog ,S10}qaq] ayy 0} SuTpPI0I9" payias

DTI Auedwoy

Suny] jueuTUNT]

80°LTS (6)(q)e0¢

OL BES [eqoiqns
*diop
80°ZT$ pamoesugQ sSuIp[oy ammyng AZ1ouq
*dioD
80°L1$ (6)(q)E0s sSurploH amnyny Adraug

“Sp10d31 pue sxjooq 310499 oO} Surpz090e PpemMo jyunoure spa3]Jor yunowe
se Ajradoad st wirep> ay} yOTYM ysurese (s)10jqaq] ayy SPayJar 10}qaq] PalsIpO| ‘NOLLVOIIGOW WOA NOSVAa

L0€0-980S4 XL ‘ONV 1d
L0€098 XO4 'O'd
XNVdWOD ATdd NS

Tr8t ORILIATA WODATAL 7

*spi10d91 puke $yxo0q ,S10}qaq] 0} SUTPIOIe PaMmo FuNOWR spajar JuNowe
PalJIpoy ‘sprova1 pure syooq S10}qaq Jy} 0} SuTpIOIIe payasse Apradoad st ure]D ayy YOTYM ysurese (s)10}qQaq] 3Y} $}a]Jar 10}q9qq PITJIPOW ‘NOLLVIMIGOW WOlA NOSVAu

ZS'6IFS Te103qns

*di0D L0€0-980SL XL ‘ONV1d

92'607$ pampasuyy sSurpjoy anny Adsauq Z0€098 XO ‘O'd

DTI Auedwo “di05 XNVdWOD Alddns

94'607$ (6)(a)0s SupuTyy yueuTNy] | 97°607$ (6)(q)e0¢ sSurploy ainyny ASrauq OFSE DIMLIATA WOOATAL Te
LINQOWV SOLVLS WOLIIA INNOWV SOLLV.LS WOLaa #WIVID aWVN
WIV1D ALIMONd WIV1D ALIMONId
aaiaIdoW GaLwassv

SUED JUNOUTY AJIpoyA] pue 10}qoq S01 — V LIAIHXA OL T LIGIHXG *(GAALLNV.LSANS) SASININO CUIH.L-ALNAML

T8939 “TUOD SONIGTOH FALAA ADWANA
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9¢ JO CT aBeg

syunoule pautuiajapun Jo/pue payepmnbrun sureyuod wel sayedtpuy - ,,

“sp103a1 pUR syOO ,S10}qaq{ 0} BUIPIOD.e paMmo JuNOUr sPa]jJa1 JUNOWe
P2TFIPoY ‘sp10dIaz pure syxooq ,S10}qaq] ay} 0} SurTp1099e payrasse Ayradoad sz wrep ayy YOTYM Jsupese (s)10}qQ aq] BY} SPaTjer 103qa(] PalsIpOW] ‘NOLLVOIJIGOW WOdA NOSVaa

26'°9SS'6$ Teyo}qnsS
“dx0D LOE0-980SZ XL ‘ONV 1d
OF'8Z7'7$ pampasuy) s#urproy amyng Adsauq Z0€098 XO@ ‘O'd
DTI Auedwoy “dio ANVdNOD Alddns
OF 8L7'Z3 (6)(q)e0¢ woyRIauas) JURUIMIN] | OF'8Z7'7$ (6)(a)e0S sSurploy amyny ASsauy SPSE DRILDITA WODATAL 9€

JOTI

AueduioD Jamog Mopues

SZ'ISIS (6)(q)eos

“Sp10091 PUP SYOO ,S10}qaq 0} SUTPIOdIe paMmo JuUNOW s}Ia]Ja1 JUNOWe
PalJIPO] ‘Spr10daI pure syxooq S10}qaq] 2Yy 0} SUTpPAOIIe paysasse ATsadoid st uITeyD ay} YDTYM Jsurese (s)10}qQaq_ 3Y} SPaTJa1 10}qaq] PITJIPOW ‘-NOLLVOIIGOW WOdA NOSVAY

99°79Z$ Te}031qng
‘drop
87 TET$ pomdasuy ssurIploy amyng Adieu
*diop
SZ TETS (6)(q)¢0¢ ssuIploH aamnyng Adrauy

Z0€0-980SZ XL ‘ONV 1d
206098 XO@ "O'd
ANVWdWOD ATddNs

Pr8t ORNILDATA WOOFTAL Se

“sp10da1 puke Syxooq S10}qaqj 0} SUTPIODIe PaMo JUNOUTe sPa[jar JuNOUrTe
PalsIpO| ‘Sp10Ie1 pue s>x00q ,S10}qeaq ey} 0} SuTpsIoIIe paysasse ATJadoid st wep ayy YITYM Jsurese (s)10}qQaq_ AY} SPayjar 10}qaQq_ PeTFIPOW -NOLLVIIIGOW AOA NOSVAu

g8'ses Teo1qnS

‘dio LOE0-980SZ XL ‘ONV1d

PP6IS pempesuy, ssurpjoy amyng Adraugq Z0€098 XO@ ‘O'd

DTI AueduoDy ‘dio ANVdWOD Alddns

Pr'6l$ (6)(q)e0s uoyeIauay jueurmny | HP'6T$ (6}(q)¢0¢ ssurploy emyng Adsaugq €FSE DIMLDATA WOOATAL =F
INQOWV SOLV.LS WOLGIa LNOOWY SNLVLS WOLGIa #WIVID aWVN
WIVID ALIMOMd WIVID ALMONId
CaidiGOon Galwassv

SUILE[ JUNOUTY AJIPOT, uv 10}Gaq] SU0IMA — V LIGTHXA OL T LISTHX’ ?(AALLNV.LSS0S) SOSININO GYIH.L-A.LNAML

TB “dUOD SONIGTION WALA ADWANA
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9O€ JO PL aSeg

syUNOW paurUajapun Jo/pue payepmbryun sureyuod wrepp sayeoipuy - ,

“Sp10D9I PUE S100 ,S10}qaq] 0} SUTpOI9e PIMo JUNOWR sparjar yuNowe
PatFIPoy *spr02a1 pue syx00q ,s103qgaQ 3y} 0} Surps0d" payzasse ATradoad st wTEPD ayy YOTYM ysuTese (S)10}qaq] BY} SPa]JaI 10}qGaq PeTFIPOW ‘NOILVOIIGOW YOA NOSVAU

00°98$ Te}0IqNS
“di05 Z0€0-980SZ XL ‘ONW1d
00's pampasuy) ssurpjoy amyny Ad1auy Z0€098 XO ‘O'd
DTI “di05 ANVdANOD ATdd NS
00'EbS (6)(q)e0s Aueduro> samog Mopurs | 00'Eh$ (6)(q)e0s s8urploy amyng AZ1auq SPSE DIMLOATA WODATAL = 6E

PeTJIpo| ‘Spso0daI pure sxood ,S10}qaq] ay} 0} SUTPIODI" pajias

JIT Aueduro>

uOyRIIUDs JULUTONT

OL'67$ (6)(a)¢05

OF 6S$ Te}09qNS
‘dioD
02'62$ pamoasuy, sSUIp[OY amyny ABiouy
‘dioy
0L'67$ (6)(a)cos sZurpjoy amyng AB19uq

"spi0daz1 pur Sx00 ,S10}qaq 0} SUTPI0II9e pamo JuNOW sPaTyor JuNOWe
se Apradoard st unep ayy yoTyM ysuTese (s)10}q9(] BY} SPajaz 10}qaq PaTJIPOW ‘NOILLVOIMIGOW WOd NOSVAa

ZO€0-980S2 XL ‘ONV 1d
£0¢098 XO *O'd
ANVdWOD)D XATddNS

LUBE INILIATA WOOTTAL —_8€

“spi0daI pue Syxood S10}gaq] 0} ZUTPIOD0v PaMmo PIMOW sParjar yUNOUTE
PalIPoy ‘Sps0Iax pur syxoo ,510}qaq] ay} 0} SuTpsz0d9e paylasse ATiado3d st ureypD ayy YONYM ysurese (s)103qQaq] JY} Salyer 101qaq] PalJIPOW ‘NOILVOLIGOW WOdA NOSVAU

TSL8$ [ejo1qns

*di05 LO€0-980S2Z XL‘ONV1d

OLS pammpasuy) s8urploy emnyny AS13ugq L0€098 XO@ ‘Od

DTI Auedu0D “dioD ANVdNOD Alddns

OL'ShS (6)(q)e0s woHeIaues JueUTUNT | 97’EhS (6)(q)¢0S sdurproy anyng ABrauq OF8e DIMLOIWA WOOATAL = ZE
INNOWV SOLVIS WOLGa INNOWV SOLVLS WOLWa #WIVID AVN
WIV1ID ALON WIV1D ALIMONd
daldIdow daLlwassv

SUL], JUNOUTY ApIpoy] pue 10)G9q SU01 A — V LIGTHX OL T LIGTHXa *(AALLNV.LSANS) SASININO GUIH.L-A.LNAML

T839 “dUOD SONIGTON WALLA ADWANA
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9¢ JO GL aseg

DT] Aueduroa

00°0zS$ (6)(a)¢0s Suu, yueuron]

s}UNOWe peUtuJajapun 10/pur payepInbryun sureywod weld sayeoIpuy - ,

"SPIOIII PUL SHO ,S10}qaql 0} ZUTpIO Ie paMmo JUNOWR sparjer yunoWwe
PelsIpoyY ‘Sp1osaI pue syooq ,S10]qGaQq By} 0} BuTpIO0N paysasse Apradord st wrezs sy} YINYM Jsurede (s)10}qgaqq SY} SPaTJaI 10]qQaq PalztpOYW ‘NOLLVOIZIGOW WOsA NOSVA

O0'OFL'TS Te103q0g
-diop
00°0ZS$ pammpasuy ssuIployy amyny Adiauy
*diop
00°0ZS$ (6)(a)e0s sSuIplop amy Adiauy

Z0€0-980S2 XL ‘ONV 1d
Z0¢098 XO4 "O'd
ANVdWOD AlddNs

TSse OMDOATA WOOUTHL oF

JT] Auedwop

Suro yueuTUIN']

or9gzEes (6)(q)e0s

*Spi0da1 PUE SHO ,SI0O}qaq 0} SuTpsro Ie pamo JuUNOWR sparjar yuNOUTe
PaTIPoY| “sp103a7 pue sxooq ,s10}qa(] ay} 0} Surpsos.e payzasse Apiadoad st wep ayy yoryM jsureSe (s)109qaq] ay} s}Pe[Ja1 10}qGaq] PalJTPOW ‘NOLLVOMIGOW UOd NOSVAU

08°7S9$¢ Teq0Iqns
“dio>
OF'9zE$ painsasuyy ssurploy aanyny AZrauy
‘dioD
OF 9zE$ (6)(a)e0s sdurp[oH emyny AB1auq

L0€0-980S2 XL ‘ONV1d
Z40€098 XO4 *O'd
ANVdWOD ATdd NS

oss¢ ONILOATA WODTTAL Th

“sp10dai PUR SyOO ,SIO}qaq 0} BUIPIODe paMmo JuNoWe sya][Ja1 JUNOT
PeTLIPOY ‘Spiodaz pue syxoog ,$10}qaq ay} 0} Zurps0s.e payrasse Ajradoad st wrepd ay} YITYM ysuTEse (s)10}qaq FYy SPaTJer 10}qaq{ PalJIPOW! -NOLLVOITIGOW wOA NOSVaAw

09 TIZ$ qTeq0}qng

“dio L0€0-980SZ XL ‘ONV 1d

08°SOT$ painsasuy) ssurppoy amyny ABzauq Z0€098 XO ‘O'd

DTI AuedwoD "dio ANVdWOD Alddns

O8"SOT$ (6)(q)¢0s Juamaseuey] 3A0I5 FeO | O8'SOT$ (6)(q)e0s s3urploy amyng Adrauyq 6PSE DMLAT WOOAL OF
LNOOWV SO.LV.LS YOLGa INNOWY SALLV.LS wOLGaa #WIVID AVN
WIV1D ALMOTad WIVID ALIMONId
aamigow GaLuassv

SUITE) JuNOUTY AJIPOJA] PUB 10;qoq SUI — V LIGIHX4 OL I LIGIHXa *(AALLNV.LS8NS) SASININO CATHLL-A.LNAAALL

Te? “dUOD SONIGTIOH FAALAA ADWANA
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9¢ JO OT aSeg

syUNOW? pauruiiajapun 10/pue payepmbipum sureyod uTrep sayeorpul - ,

*spi0d91 pur Sx00d ,S10}qaq] O} ZUIPIOD9e pamo JuNowre sya]Jer UNOUTe
PalIPoY ‘sp102a1 pue syoog ,s10}qaq Jy} 0} Surpr090e payrasse Ayradoad st wrepp ayy YAY ysuTese (s)10}qaC] ayy Spefzar 101q9q PITIPOW ‘NOLLVOMIGOW wOd NOSVIa

PS LZ$ Teqo3qng
‘dio LO€0-980SZ XL ‘ONV1d
Z6°ET$ paansasuy) s8urployy amyny ASsauq Z0€098 XO4 ‘Od
DTI ‘dio ANVdINOD Alddns
Z6'ELS (6)(a)e0s AuedwoD Jamog mopurs | 76'€1S (6)(a)e0s ssurppoy amyny ABseugq PSE DIMLLDATA WODATAL = Sb

“spr0daI pue sx00q ,S10}qaq] 0} SuTpi0oIe pamo JuMoWwe spajar Junowe
PaLFIPOY *sp10daz pure syxooq S10}qaq ayy 0} SuTpros." payiasse A[rodoad st wreyp> ay} YOrYM Jsurese (s)10}qQaq_ BY} SPaTJal 10}qaq] PerFpoW -NOLLVOIIGOW AOA NOSVAN

00'%S Te103qng
“di05 ZO€0-980SZ X.L‘ONV 1d
00'Tz$ pamoasuy) ssurpfoy ammyny Adiauq Z0€098 XOG ‘O'd
311 Aueduro> ‘dio ANVdWOD A1ddNS
00°Lz$ (6)(a)e0s uoyerauasy Jueurny | 0017S (6)(aeos sSurIploy amnyny ASI3uq €S8E DIALDITA WODAISL =F

*sp103a1 pur syoog ,sIo}qaq 0} SuTpi020" paMmo JUNOW spaljar JUNOWe
PalFIPo| *spi0da1 puke syxoog ,S10}qaqq ay} 0} ZuTpsoy9e payasse Apradoad st wre]d ay} yYOTYM JsuTese (s)10j}qQaq] dy} SPaTJoI 10}qaq] PelFIPOW :-NOLLVOIMIGOW WOd NOSVaAt

00°086$ [e10Iqns

“dio LO€0-980S2 X.L‘ONV1d

00°06%$ pampesuy) sSurpoy amyny ABsouyq L0€098 XOM "Od

3T1 Aueduro> “di0> ANVdWOD A1ddNS

00°06%$ (6)(q)¢0s woyeIeuay JueUUNT | 90'06S (6)(q)¢0S sSurproy amyng ASsauq ZS8E DIMLIATI WODATAL eh
LINOOWV SO.LV.LS YOLIIAa LINQOWY SNLV.LS YOLGaIa #WIVID aAVN
WIV 1D ALMIOMd WIV1ID ALMMOMd
GaigIGOw GaLwassv

SUIIe[D JUNOUTY AFIPOP PUL 10)G9q uo — V LIGTHXA OL T LIGVHX4 ?(AALLNV.LSNS) SASININO GYTH.L-A.LNAML

T® 99 “dYOO SONIGION WALA ADWANGA
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9¢ JO ZL aSeg

syunoue paunoiajapun Jo/pue payeprnbrrun sureywod wre[d sayedTpuy - ..

“sp103a1 pue Syoog ,S10}qaqj 0} SUIPI0I.e pamo JUNOW $]a][Jo1 JUNOT
PaLJIpoy ‘spr0sai pue syxooq ,S10}q3q] ay} 0} SuTp0I9e payiasse Apradord st wTePD Jy} YITYM JsuTese (s)10}Qaq ay} SPeTJaI 10}QeQ] PelJIPOW ‘NOILVOMIGOW WOd NOSVAa

OL'97$ Te01qns
‘dio LO€0-980SZ X.L ‘ONV1d
SO'ETS$ paimpasuy) sSurploy amyny AB1auq Z0€098 XO@ ‘O'd
DTI Auedwoy “di0> ANVdWOD ATddNS
GO'ET$ (6)(q)e0s Suny yueurwny | cO'ET$ (6)(q)e0s sSurploy amyng Assay LS8E DIMLDATA WODATAL = 8h

DT] Auedwo

woreIauas JUEUNON]

LUTZS (6)(q)eos

“Sp10091 pure sxa0q ,S10}qac] 0} Surpr039e pamo Junowe spapjaz yunowe
PITFIPOY ‘spr0da1 pue sx00g $10}q9(] By 0} JuTps0.9e payasse Apiadoad st wrep ay} yYoTYM ysurese (s)10}qQaq] ay} SPa]Jor 10}qaq PeTIPOW ‘NOLLVOIMIGOW OA NOSVAN

FESS Te1031qnS
‘di0oD
LVLZ$ painsasuy) ssuIp[oY ainyny Adi1ouy
‘dioy
LV'LT$ (6)(a)¢0s sdurproy emyng ABr9uq

ZO€0-980S4Z XL “ONV'1d
Z0€098 XOd ‘O'd
XNVdNOD AlddNs

998¢ ORILOAT WOOFTLL _ZP

‘Sp10301 puke Sood SI0}qaq 0} SUTPIODIe paMmo JUMOWE spaTyjar yuNOWE
P2lFIpoy ‘sprod91 pur s400q ,S10}qaQ] Jy} 0} SurpsoyIe payasse A[Jadoad st wrep> ayy YNM JsureZe (s)10}qaq 3Y} SPeT]JaI 10}q9q PatFIpoW -NOLLVOIAIGOW YOA NOSVAU

8267S Tey01qng

‘dioD L0€0-980SZ X.L ‘ONV1d

59'bI$ pampasuy) ssurploy amyny Adrauy Z0E098 XO ‘O'd

DTI Auedwu0D “diop ANVdNOD Alddns

POPI$ (6)(q)¢0s Surry jueunony | 79'P1$ (6)(q)¢0s s3urploy amyny ABzauq scge DIMLOITA WODATAL 9F
INNQOWV SNLVLS woLaaa INNOWV SNILVLS wOLgaa #WIVID aINWN
WIV1D ALMMONId WIVID ALON
dalglGOoW CaLuassv

SUNY[D JUNOUTY AJIPOJA! pul 40}Qeq S01 — V LIGIHXA OL T LIGIHXG ?GALLNV.LSANS) SAS INNO CYTHLL-A.LNAML

T8939 “AMOD SONIGTOH FANLAA ADWANA
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9O¢ JO gL adeg

syunOWwe paunuiajapun Jo/pue payepmbrypun sureyuoo ulrey) sayesrpyy - ,,

*sp10da1 pur Sx00 ,S10}qaq 0} ZUIPs039e paMmo JyUNOUe s}da[Ja1 JUNOUTE
Papo ‘spso0daz pue syxoog ,s10jqaq] 9y4 0} SuUTpr0I9e pajzasse Apradoad st wyeTD ay} YTYM ysuTeTe (s)10}qQaqq oY} S}e[Jor 10349] PAAPOW ‘NOLLVOMIGOW Oa NOSVAa

08'6S7$ [eqo1qng
‘dio ZO€0-980S4 XL ‘ONV 1d
06'621$ paimzasuy) s2urploy amyny ABrauq Z0€098 XO4 ‘O'd
DTI Auedwo “dio ANVdWOD ATdd NS
06°6Z1$ (6)(q)€0s worerauas) jueurony | 06°6z1$ (6)(a)0s ssurploy eznyng ABrauq 098¢ DINMIDIT WODATL = TS

PalfIpo| ‘Sp10daz pure syooq ,S10}qaqj ay} 0} ZuUTPIOII" payias

‘spi0za1 pur SxOo ,810}qaq OF Zurpi0s3e pamo Junowr syaTjer JuMOUTe
se Apradoad st wryeps ayy yor ysurese (s)10}qQaC] BY} SPaTJa7 103q2q] PATJIPOW ‘NOLLVOIIGOW WOd NOSVAU

OL THES Te103qng
‘di0D ZO€0-980SZ XL ‘ONV1d
SETLTS pampasuy) sSurploH emyng AB1auq Z0€098 XO4 ‘Od
DTI Auedwo5 *d10D ANVdWOD AlddNS
SETLI$ (6)(q)e0s SuruyA Jueurwny] | geTZt$ (6)(q)¢0¢ sSurpjoy amnyny ABsaug 698 DIMIDATA WODATEL 0S

‘splO.01 puke $yxO0 ,S10}qaqq 0} BuUTPIOII" Pamo JuNowe sparTjas yuNoUIY
PalIPoy ‘Spr1oda1 pure syooq ,S10}qaq By} 0} SurpsiosIv poyasse Ayradoid st wre] ay} YITYM ysuTese (s)10}qQaQq ayy SpaTjer 10}q9q] PalFIPOW ‘NOLLVOMIGOW WOA NOSVAY

Os'SOTS$ [e10}qnS

“dio LO€0-980SZ XL ‘ONV1d

06'7S$ pammdasuy) sSurploy amyng Adraug Z0€098 XO@ ‘O'd

DTI Aueduo0D ‘dio ANVdWNOD ATddNS

06°ZS$ (6)(a)e0¢ yuauaSeuRy] dA0ID AKO | 06'7S$ (6)(q4)¢0s ssurppoy amyng Adauy ESSE ODIMLDATA WODATAL  6F
LNNOWV SOLVLS WOLgIa LNOOWV SOLV.LS WOLLIA #WIVID aINVN
WIVID ALIMOMd WIV1D ALTON d
GaiIGdon GaLwassv

SUNY] JUNOUTY AJIpOT pu 10}qQoq Su01M4 — VY LIGIHX OL T LIQMHXa ?GAALLNV.LSANS) SAPININO CYIH.L-A.LNAML

Te 2 “dYOD SONICTTON WUALAA ADWANGA
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9¢ JO GL ade

syuNOWe paufuiajapun Jo/pue payepmbrpum sureywos wired sayesTpuy - ,,

‘$p109a1 pur S00 ,S10}qaq 0} SUTpP1OsIe pamo JuNOWR sParjer yunoure
ParFPOY| ‘spr0daz pure $x00q ,510}qacq ay} 0} Surpr029e payzasse Apradoad st warepD ayy YOTYM ysuTese (S)10}qaq ayy s}aTJoI 10}qGaq] PeTFPOW -NOLLVIITIGOW WOA NOSVAN

07’ T98$ Teq07qQNS
*d105 Z0€0-980SZ X.L ‘ONV1d
09°0S%$ pammoasuy) ssurployy amyny ABsauy Z0€098 XO4 ‘O'd
DTI Auedwo5 "dio ANVdNOD ATddNS
09°0Eh$ (6)(q)¢e0s Suu] yueuruny] | 09ers (6)(q)e0s sSurploy amyny Adrauq £98E DIBLDATA WODATAL #5

DTI Aueduroa

yusura3euey] 3A0ry FLO

ST16S$ (6)(a)e0s

“sp100a1 pue syxooq ,S10}qaqqj 0} SuTpxr0I9e PaMmo JuMOUTe spPaTjar JUNOWe
PILFIPOJ *Sp103az pue syood S10}qaq] sy} 04 BUTPIOIIe payzasse Apiadord st wrey ay} YNYM ysuTeSe (s)10}qQaq_ AY} SP2]JaI 10}q9q] PeLPOW ‘NOLLVOLIGOW wOr NOSVAY

OS'Z81$ Teo1qns
*dio>
SZ T6$ pampasuy) ssurlploy emgny ABrouq
-diop
ST'L6$ (6)(q)e0s sSurproy ammyng ABrauyq

LOE0-980SZ XL ‘ONV1d
Z0€098 XO *O'd
ANVdWOD AlTddNsS

c98e OMLIAT WOOFTHL  €s

“Sp1Oda1 pur SxOOg ,S10}qaqj 0} SUTPIOd.e paMo WUMOW szal[Ja1 yUNOweE
PalFIpoy ‘sproda1 pure syxooq ,S10}qaq] Jy} 0} SUTPIOIIE payresse Ayradoad st wrepd ayy yYITYM ysuTee (s)10}qaq] ayy SPaTJer 10}qaq] PaIFIPOW ‘NOLLVOIIGOW WOdA NOSVIU

0O°LES Te}01qnS

*di05 LO€0-980S4 XL ‘ONV1d

os'sT¢ pampasu-) ssurppoy anny ABiaug Z0€098 XO@ 'O'd

DTI AueduoD *di05 ANVdWNOD ATddNsS

os'sT$ (6)(q)e0¢ woHeiauasy yueuTUN] | OS’SI$ (6)(a)0¢ ssurploy amyny ASiauq TOS DTMLIATA WODITAL 7S
INOOWV SOLVLS woLaa INNONWV SALVILS wOLIIA #WIVID aINVN
WIVID ALIMOrMd WIV1ID ALIMONId
daidigqow da Laassv

SUE] JUNOUTY AFIPOyA puL 109Qoq Su01M — V LIGTHXA OL T LISIHXa *?GIALLNV.LSANS) SASININO CATALL-ALNAML

Te #9 “duOO SONITIOH FANLAA ADAANA
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9¢ JO 07 aSeg

syUNOWe pauTuliajapun 10/pue payepmnbipun sureywod wired sayes1pyy - ,

“spi0da1 pure S00 ,S10}qaqq] 0} Surpio039e Ppamo yUMOW spa]Jar JUNOWE
Papo ‘sprosai pue sxoog ,s10}qaq] 9y} 0} SuTpso0dse payrosse Ayradosd sy wey ayy YDTYM sure (s)10}qaCq ay} SPaTJer 10349q] PaLIPOW ‘NOLLVOMIAGOW wOA NOSVAa

OF F60'TS Te}03qng
‘di0D ZO€0-980SZ X.L‘ONV1d
02'LES$ pampasuy) s8urploH amyng Adzaugq Z0€098 XO4 ‘O'd
DTI Auedwop ‘dio ANVdNOD ATddNS
0Z'LESS (6)(a)e0s Suruyy] yueurun’y] | 07'L5S$ (6)(q)e0s ssurppoy amyny ASsauq 998¢ DRLLDATA WODATEL «ZS

DTI Auedwo

SLT6$ (6)(4)e0¢ juawaseueyy 2015 FLO

“sp10da1 puke syxOo0q ,S10}qQaq 0} BuUTpr0II" paMmo JuNOUWe spajal yuNowe
PaIPoy ‘SprodaI pue sx00q ,S10}q3q] 3Y} 0} SuTps0DIe payrasse Ayradoid st wrep> ay} YOTYM ysutedse (s)10}qaq_ BY} SPaTJer 10}qQaq] PalsIpoW ‘NOILVOIMIGOW WOd NOSVAY

os"esT$ Te103qng
*dioD
SL'T6$ pamoasuyy sZurploy amyng Adiauy
‘diop
SL'T6$ (6)(q)€0s sdurproy] amyng Adroug

L0€0-980S2 XL “ONV1d
Z0€098 XO” "Od
XNVdWOD ATddNS

S98t INILIATA WOOFTAL 9S

“Sp10DeI pu SYOO ,S10}qaq] 0} BUIPIOIIe paMo JUNOWE sP—aTjaI JUNOWe
PalJFIPOY] ‘Spr0Iax Pur syxo0q ,SI0}qaq ay} 0} BuTpzoode payasse ATJadoad st weep ay} YIM JsurTese (s)10}qQac] aU} SPaTjad 10}qaqq PaljIpoW] ‘NOLLVOLIIGOW WOd NOSVA

89°S02'‘T$ Te03qns

“dio0D Z0€0-980S2Z XL ‘ONV1d

¥9'209$ pampasuy) sdurppoy amyng Adrauq Z0€098 XO ‘O'd

DTI AueduoD "dio ANVdAOD A1ddN$

¥8'Z09$ (6)(4)e0¢ Sur jueuruny | $9°709$ (6)(a)¢0s ssurpjoy amyng Adrauq Pose DMMLDATA WODATAL = $s
LINOQOWV SO.LV.LS WwOLIIa INNOWV SOLVLS wWOLada #WIVID aINVN
WIVTD ALMONId WIVID ALIMOTad
dagIdoW GaLaassv

SUI] JUNOUTY AJIPO|Y puke 10}qoq 3U01AK — V LIGIHXG OL I LISIHX’ *(HALLNV.LSSNS) SASININO GUIHL-ALNAML

T8939 “AaOD SONIGTOH WANLAA ADWANA
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9€ JO Iz adeg

syunoWwre pauruniajapun 10/pue payepmbrpun sureywos uTrepp sayesipuy - ,

“spl0daI pure syxood S10}qa(] 0} ZUTPI0I3e pamo yuNoue s}da[JaI JuMOUTE
PalJIpoyy “Sp10daI pure syx00q ,S10}qaq] 3y} 0} SuTpz099e poyrasse Apradoad st wep ayy yDTYM ysuTEZe (s)10}qeq] ay} $}a]Ja1 10}q2q PILPOW ‘NOLLVOIIGOW Yor NOSVaa

g9°Ss$ Telo1qng
‘dio Z0€0-980SZ XL ‘ONV'1d
PR'L7$ pampdasuy) ssurppoy ammyng ABsauq 20€098 XO" ‘Od
DTI "dio ANVdWOD ATddNS
WS'Lt$ (6)(a)e0s AuedusoD wamog Mopurs | $8'27$ (6)(a)e0s sSurpjoy amyng ASzauq 698¢ DIMLDATA WODATEL 09

PaTJIPO| ‘Sp109a1 pue syxOod ,S10}qaQj ay} 0} SUTPIOIIe payias

*SPp10591 pure soo ,S10}qICJ 0} Surpr092e peMmo JuUNOUWe spoljor FUNLOUWTe

sev Ajzadoxd sr wre]? ay} yoTYyM ysuTese (s)10}gaqq BY} SPa[JaI 10}q9q] PeTFPOW ‘NOLLVOIMIGOW wWOd NOSVAa

OS’CZT$ Te101qnS
“dioD LO€0-980SZ XL ‘ONV1d
OF'98$ pampasuy) sSurploy amyny Adiauq Z0€098 XO4 ‘O'd
DTI Auedwmop ‘dio5 ANVdWOD AlddN$
OF'98$ (6)(q)e0s Sunny yueuruny | oF 98$ (6)(aeos sSurploy simyng ASiaugq 898 DIMLDITA WODATAL 6S

“Spi09a1 pur Syxooq ,810}qaq] 0} ZuUTprO.e pamo JUMOWL spayjar yuNowe
PalFIpoy ‘sprzodsaz pur syoog ,S10}qaq ay} 0} BuIpi0zIe payasse Ajradosd st wreps ayy YTYM Jsurese (s)10}qaq] BY} $}9]JAI 10}qaqq PITJIPOW ‘NOLLVIISIGOW WOdA NOSVaa

00°SZP'T$ Te}0O}qnS

*d105 Z0€0-980SZ XL ‘ONV1d

OS 9EL$ painmdasuy) sSurploy amnyng Adiauq Z0€098 XO ‘Od

DTI “di0p ANVdNOD ATddn$S

0S°9E2$ (6)(4)¢0¢ AueduoD Jamog Mopurs | 0S'9¢2$ (6)(a)¢0¢ sSurploy anny AZ13uq L98E DMIDITA WODUTAL 8s
INNOWV SQLVIS WOLGIa LNOQOWV SNLV.LS wOLdaa #WIVID aWVN
WIvV1D ALIMOMId WIV1ID ALIMOMNId
dalgIdow daLuassv

sue] JUNOUTY A;IPOYA| pue 10;qQeq Su01M — V LIAYHXA OL T LISTHXd *(AALLNV.LSANS) SASININO CHIB.L-ALNAAL

T2832 “daOD SONIGTON FANLAA ADAANA
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9¢ JO 7 ade

syUNOUIe pauluajapun Jo/pue payepmbrlun surezuod uirepD sayeorpuy - ,,

"spi03a1 pur S00 ,SI0}qaqj 0} ZUIpI0IIe pamo junow s7aTjor Junoue
PalJIpoyy ‘sps0daI pue sx00q ,510}qaQ BY} 0} BuTps0gIe payzasse Ayradosd st wrpepD ayy YDTYM ysuTee (s)10}qaq ey} SPafJeaz 10}49C] PATFPOW ‘NOLLVOMIGOW wOd NOSWAa

P6' TITS qTe}01qnS
“di0D LO€0-980SZ XL ‘ONV'1d
L6°SS$ paimoasuy) ssurproy amyny Assauq Z0€098 XOM ‘Od
DT] Aueduog “dio ANVdINOD Alddns
L6°SS$ (6)(q)€0s Sura] yueurmny | 26°9¢$ (6)(a)eos sSurproy] aimyng Adiauq ZL8E DRILDATA WODATAL £9

“spr0za1 puke syxoo ,S10}qaq 0} ZuUIprOIe pamo JuMOWR s}Da[Jor JUNOUTE
P2TFIPoy ‘sp10da1 pue syxooq ,S10}qaqq ay} 0} SuTpsosI" payrasse Apradosd st uTEpD ayy YDTYM ysuTESe (s)10}q aC] OY} SPI JoI 10}qQaq] PalFIpoW ‘NOLLVOLIGOW WwOA NOSVAY

76°691T$ Te10}qns
‘dioD ZO€0-980SZ XL ‘ONV 1d
96°08 pampasuy) sSurploy amnyng A3Ziauq Z0€098 XO@ ‘O'd
DTI Auedwop ‘dx0D ANVdWOD ATdadns
96°F8$ (6)(a)e0s yuouaSeueyy aa0rs) FeO | 9658S (6)(q)e0s sSurploy] anny Adsoug TZ8€ DIMLOUTA WODATEL 79

‘Sp10991 PUE SOO ,S10}qaq 0} ZUTPIOIIe PaMmo JUMOWe sy~aljai JUNOWe
PaIPoy ‘spxo0dar pue syxoog ,S10}qaQq] ay} 0} SuLps099e payasse Apiadosd st wrep ay} Yr ysuree (s)10}qQaq_ Jy} $}aTJo1 10}qaqq PeTFIPOW ‘NOLLVOIIGOW wOd NOSVIa

PE OTz$ Te}0}qnS

“dio Z0€0-980SZ X.L‘ONV1d

LV'SOT$ peindasuy s8urpjoy emmy Adsaugq Z0€098 XO4 ‘O'd

DTT Aueduo0D "dio ANVdWOD Alddns

LVSOL$ (6)(4)e0s woHeIauasy jueuTN] | ZT°SOT$ (6)(q)¢0¢ sSurploy amyng AS1auq OLE DIMLOATA WODATAL = 19
LINNOWV SOLVLS WO.LaIa INNOWYV SOLV.LS wOLGsIa #WIVID aIAVN
WIVID ALIMOMd WIVID ALMONId
GagIdOW GaLudassv

SUNIL) JUROUTY AJIPO|] pue 10}G9q Bu01A4 — WV LIATHXG OL T LIGIHXd ?GAALLNV.LSSNS) SASININO CYIH.L-ALNAML

Te 99 “TUOD SONIGTION FTALLAA ADWANA
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9€ JO ¢7 aBeg

UTI

Auedurop 1amog MOpues

SLERES (6)(q)e0¢

syuMOWwe paunoiajapun 1o/pue payeprnbryun sureyuod wre] sayestpyy - ,

*sp10991 pue $004 ,S10}q4aQq] 0} ZUTPIOIIe paMmo JuNOWwe spayjai juno
ParJIpoy ‘sprodax pue sx00q_,810}qaq] 9y} 0) Purpr0d9e payrasse Ajradord st wyep ayy YT Jsurede (s)10}qac] ay} SPefJer 101G9q PIYLPOW ‘NOLLVOIMIGOW OA NOSVAU

OS L8h$ Teq0Iqns
‘diop
SLChz$ pamsasuy) sSurIploy einyng Adiauyq
*dio-7)
SL'ERTS (6)(q)e0¢ ssurploy aanyny Adiaug

LOE0-9806Z XL ‘ONV 1d
Z0€098 XO” *O'd
ANVdWOD ATddNS

SL8E ORILDIATA WODATHL 99

“SpIOIEI PUL SYOO ,S10}qaq 0} SUIPIOIIe pamo JuNOWe spaljax JUNOUTE
PaTJIpo| ‘spro0saz pue syxoog $10}qaqq 2Yy 0} Surpsosoe paywasse Ayradoad st wre] ay} ySTYM JsurTese (s)10}qQaq] ayy $P2]JaI 10}qaC] PeTFIPOW -NOLLVOMIGOW WOd NOSV4Aa

OL HITS Teqo1qns
“di0D ZO€0-980SZ X.L ‘ONV1d
ce'zes$ pampasuy) sSurploy amyny Adaugq L0€098 XO4 ‘O'd
DTI Auedui05 *di05 ANVdANOD ATddNS
SE78S (6)(a)e0¢ Sulu, jueunany | oe78$ (6)(q)e0S sSurploy amyng ASiauq PL8E DIMLIATA WODATALL = s9

“sp103a1 pUR SOO ,SIO}Gaq 0} ZUTp10I0" paMmo JUNOW s~Paja1 yuNOoWwe
PalJIpoy “SPsoda7 pue syooq ,S10}qaq ay} 0} SuTps020" payzasse ApIadoard st wrep> ay} YIM ysuTEse (s)10}qaq] JY} SPaTjer 10349] PelJIPOW -NOILLWOLMIGOW WOI NOSVAa

OF 067$ yejoiqns

‘drop L0€0-980SZ XL ‘ONV1d

OZ'SPTS pampasuy) sSurproyy emyny Adauq 206098 XO@ ‘O'd

DTI AueduoD “dio ANVdWOD ATddNn$

02'SFTS$ (6)(q)e0¢ Sunny yueurNy | 0Z'ShT$ (6)(a)e0¢ ssurploy amyny Adsauq ELBE DML WODITAL «#9
INOQOWV SOLV.LS WOLGaa INQOWV SOLVLS YOLIAG #WIVID HAWN
WIVID ALIMONd WIVID ALIMOMd
Galigdon GaLaassv

SUIIE[D JUNOUTY AJIPOTA PuL 109qQaq Bu0144 — V LIGIHXa OL T LISIHX’S ‘(AALLNV.LSS0S) SASINWNO GUIH.L-ALNAML

TB 99 “AOD SONIGTOHN AAALAA ADWANA
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9¢ JO FZ aseT

aT] Auedwoy

yuawaseureyy 3A0I5) F2O

FET9SS (6)(q)e0s

SJUNOWe paulWiajapun Jo/pue payeprnbrpun sureywod uTe]D sayeo1puy - ,.

‘Sp1Oe1 pur syOod ,S10}qacq] 0} BUTPIODIe pamo JuMOWe spayjel JuNOWE
PaTIPOY| “spr0da1 pue syxoog ,s10jqaq{ ay} 0} BurpsodIe pajsasse Ayradoad st ware] oy} YDTYM JsuTese (s)10}qaq] ay} SpPaTJar 10}4aq PeTFPOW ‘NOLLVOMIGOW YOd NOS VAN

89°2CL'TS$ Te}03qng
*diop
Fe T98$ pamoasuy) sSuIppoy amyny Adiouq
-dio>
E'T98$ (6)(a)e0s sZurploH amnyng AB1auq

LO€0-980S2Z X.L “‘ONVTd
Z0€098 XO4d ‘Od
ANVdNOD ATddNS

628E IRILOATA WOOATAL 69

P2lFIpoy “Spi10saq pue sxooq ,810}qaq ay} 0} SuTp1093e payias

11 Auedwop

O1'76$ (6)(q)e0¢ yusmaseury aA0r FLO

ZEPSTS Teo1qns
‘diop
9T'26$ pampeasuy ssuIploy amyng Adiauy
‘diop
9T 26S (6)(q)e0s ssurppoy ammyny Adu

“Spl0da1 puke syxoog ,S10}qaQj 0} SUTp1099e pamo JUMOWR sPaTjar yuNOWeE
se Ayradord st wep ayy yor ysurede (s)10}q aq] ayy SPajor 10}qaq] PaTJIPOW ‘NOLLVOIIIGOW WOdA NOSVAU

Z0€0-980S2 XL “ONV1d
Z0€098 XOd “O'd
ANVdWOD Alddns

8L8C OMILOATA WOOATHL 89

"SP1OIaI Pur SxO0g ,S10}qGaq 0} SUTPIONIE paMmo JUNOUW spalja yunoue
PeIFIPO| ‘Sp1odar pure syoog ,s10}qaq] ayy 0} SuUTpr0IIe payiosse A[Jadod st wep ay} YSTYM JsuTeZe (s)J0}qaq_ FY} SPaTJeoI 10}99q PITFPOW ‘NOLLWIIAIGOW WOA NOSVAU

O@LT1$ qTeJO}qns

“dio Z0€0-980SZ XL “ONV'1d

09°£9$ pampdasuy) ssurploy emyng ABiaug Z0€098 XO4 ‘O'd

>T71 Auedu0> “di0D ANVdWOD A1ddNS

09°69$ (6)(q)¢0¢ juamaseuryy aaorsy xO | 09°¢9$ (6)(q)¢0¢ s2urppoy amyng AZ1auyq OL8E DNLDATT WODATAL «9
LNOOWV SOLV.LS woLaaa INNOWV SOLVLS WOLIAG #WIVID FIAVN
WIV1D ALIMONId WIVID ALIMOTad
GalsgidoW GaLwassv

SUIIe[D JUNOUTY AJIpOy puv 10)qQ9q 3u01M — V LIAIHXa OL I LISTHX *(CHALLNV.LSSNS) SASININO CMIH.L-A.LNAAL

Te 99 “dUOOD SONIGTOH FANLAA ADWANA
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9¢ JO Gz adeg

syunowe pauruajapun J0/pue payepmbryun sureyiod wrepD sayesipuy - ,,

"sp0d91 pue SyxOO ,S10}qaq] 0} ZuTpi0d9e pamo yunowe spayjar JuNOWe
PalJIpoy| “sp10Ia1 pure sxoog ,510}qaq] 344 0} ZuTps099e payrasse Aprodoad st wep? ayy YOTYM ysuTee (s)10}qGaq] AY} $}93]J91 103143 PILFPOW :NOLLVOMIGOW YWOdA NOSV4a

ve TS Teqo3qns
"dio ZO€0-980SL X.L ‘ONV'1d
LV It$ pampasuy) ssurproy amyng AZ1auy Z0€098 XO4 ‘O'd
DTI Auedw0p “dioD ANVdWOD ATddNsS
LV IZ$ (6)(a)e0s woyeIauas yueUNINy] | ZETZ$ (6)(q)¢0s sSurploy ammyng Adrauq Z8SE DIMLDATA WODATAL ZZ

PayIpoy ‘Spi10saI pue syxooq ,S10}qaq] ay} 0} SUIpPIOI9e payes

“spi0daz pue syxOo ,S10}qaqj 0} ZUTP1099e pamo yuNOWwe syaTJar uNOWE
se Ajsadoad sy une ay} yor ysurese (5)10}q4aC] BY} spPa[gfor 10342 PITF{POW ‘NOLLVOLIGOW WOA NOSVAY

PS'L7$ Te101qng
“di0>5 ZO€0-980SL XL ‘ONV1d
Z6°ELS pampasuy) sSurpjoy amyngq Adsaugq Z0€098 XO4 ‘O'd
DTI *dio> ANVdUNOD ATdd NS
Z6'ETS$ (6)(a)eas AueduroD ramog Mopurs | 76'€1$ (6)(q)¢0¢ sSurp[oy amyny ABrauq T98¢ DBL WOOaTaL

‘Sp10DaI puke SOO ,S10}q2C] 0} SUTPI0IIE paMmo JUNOW s}a[JaI JUNO
PIJIPo| ‘Spsodaz pur sxoo0g ,S10}qaqq BY} 0} JuTpso9e payasse Apradoad st wrep ayy yoryM Jsurese (s)10}qQaq_ ayy $}9]J91 10}qaq] PalFIPOW :‘NOLLVOIIGOW WOA NOSVAt

00°96€$ 1e109qng

“dioD ZO€0-980SZ XL ‘ONV'1d

00°861$ paimpasuy) sSurppoy amyny AB1auyq Z0€098 XO4 ‘Od

DTI Aueduo0D *di05 ANVdWOD A1ddNns

00°86T$ (6)(q)e0¢ Surry yueuruny | 00's6Ts (6)(q)e0s sfurploy] anny AZiauq O8se DINLDATA WODATEL 02
INNOWV SO.LVLS WOL@aa INOOWV SOLV.LS wOLGada #WIVID aINVN
WIVI1D ALTON WIVID ALMMOTad
aaidgIdOW Calwassv

SUE] JUNOUTY AJIPO| pu 10}G9q Su0IAA — WV LIGINXA OL I LISTHXG ?(AALLNV.LSS0S) SASININO GUIH.L-A.LNAML

T8939 “TUOD SONIGTOH WAALAA ADWANA
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9€ Jo 97 ade

syuNOWe pautmsajapun Jo/pue payepmmbrun sureyuod wirep sayesrpuy - ,,

“Spi0DaI pur $x00q ,S10}qaq] 0} SUTp10I9e pamo JuMOWR sya]Jor JUNOWE
PatjIpoy ‘sp10Ia1 pue syx00q ,810}qaq] 93 0} Zurpr0s9e payasse Apradozd st wreyp> ay} yDTYM ysureZe (s)10jqQoq] ay} $3]J21 10}q2C] PFIFPOW ‘NOTLLVOMIGOW AOd NOSVAa

00°SZ1'TS Teq01qnsg
“dio Z0€0-980SZ XL ‘ONV'1d
0S'9EZ$ pampasuy) ssurploy ammyny ABrauq Z0€098 XO4 'O'd
DTI “di0D ANVdNOD ATddNS
OS'9EZ$ (6)(q)e0s AueduroD amog Mopurs | 0S'9EZ$ (6)(4)e0s sSurpfoy ainyng Adiauq S88E DRILDATA WODATAL «SZ

OTI

Auedwo> Jamog Mopues

98°L7$ (6)(4)e0s

“spi0291 pure SxOO ,S10}qaqj 0} SUTpro.e pamo juNowe spayjal yunowe
PITFIPOY “Spr0da1 pur syxoog ,S10}qa(] ay} 0} BurpsodIe payasse Aradosd st wey ayy YONYM ysuTeSe (s)10}q9q] ay} SPaTJer 10949] PATPOW ‘NOLLVOIMIGOW AOA NOSVaa

OL'EN$ Tewo1qns
-dioD
88° TZ$ peaimdesuy) sduIploy emyng Adsouy
*diop
8812S (6)(q)€0s sSurploH eanyng Adsaug

LO€0-980S2 XL ‘ONV1d
Z0¢098 XO@ “Od
ANVdWOD ATddNs

P8se ORILDAT WODATAL $2

“sp10da1 puke Sxo0g ,S10}qaq 0} SurpIod.e pamo JuNOWe s}a]Ja1 JUNOWwe
PalFIpo| “Sp10da1 pue syxooq ,S10}qaqq BY} 0} SuTp10I9" paysasse Ay1adoard st wre]d ay} YTYM ysuTese (s)10}qaq] BY} SPaTJer 10}qQaq] PelFIPOW -NOLLVOIMIGOW wOd NOSVaAa

¥9'910'T$ TeJ03qns

“dio L0€0-980S4 X.L‘ONV 1d

ZE"80S$ pampasuy, sSurpjoy ainyng Adzauq Z0€098 XO@ 'O'd

DTI “di0D ANVdNOD Alddns

ZESOSS (6)(q)e0s Aueduro> 1amoy Mopues | ZE"g0S$ (6)(q)e0s sSurppoy amyng ABiaug €8se DIMLOAITA WODFTAL = €Z
LNQOWV SOLVLS WOLGId LNNOWV SNLVLS WOLGIa #WIVID aAVN
WIvID ALNIONd WIV1D ALIMOMNd
aaigIGOW da Laassv

SUNIL] JUNOUTY AJIPO|A] puv 10)GQ9q Bu01M — V LISTHXG OL I LISTHXG *(HALLNV.LSS0S) SASININO CHIH.L-A.LNAML

Te} “daOO SONIGTON FANLAA ADAANA
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9¢ JO Zz adeg

syunoUe paurUtiajapun Jo/pue payeptnbyjum sureywod urelD sayesTpuy - ,

“SPpIOIOI pue s,xjooq 510}q39q 0} Surps0s3e poeaMo yUOWe Spo [Jor JUNO We
PaYIPOY| ‘sps02ax pure sxoog ,S10}qaq] By} 0} Surpsoaoe payrasse A[redord st wey ayy YrYM ysuTeSe (s)10}q9C] By3 SP2TJAr 10} PeTFIPOW :NOLLVOMIGOW AOA NOSVAA

00°'SZe$ Te103qns
‘dio Z0€0-980SZ X.L ‘ONV1d
00°68T$ pampoasuy) ssurppoy amny ASsauq Z0€098 XO4 'O'd
DTI AuedwoD “d105 ANVdWOD Alddns
00°68T$ (6)(q)eos woyerauar) JueUTUINT | 00°68TS$ (6)(ae0s sSurpjoy amyng A3rauq 888E DIALOATA WODATAL 84

PalIpoy ‘Spsosax pue sxoog ,S10}qaq] AY} 0} SuIproo9.¥ papas

“sp10091 pur syxood ,S10]qaq] 0} Surprzo039e pamo yunowre spoayjer yuNoure
sv Ajradord st wep) ay} yoy ysuTese (s)10}qaq] ay} Spafjer 10}qaq PaTFIPOW, -NOILLVOIIGOW AOA NOSVAt

os'0Sz$ Te103qns
“dio LO€0-980SZ XL ‘ONV1d
GZ'SZ1$ pampesuy) ssurpjoy amnyng AZiauq Z0€098 XO@ ‘O'd
DTI Auedwo5 ‘dio ANVdWOD Alddns
G7'SZI$ (6)(q)e0s uoyesauasy yueurny] | S7Sz1$ (6)(q)e0s sSurploH amyngq ASrauq L88€ DIMLDATA WODATAL LL

‘sp10daI puke Soo S10}qGaq 0} SUTPIODIe paMo JUMOWR sPpa[jal yuNowe
PalfIpoy ‘sprosaz pur syxoog ,S10}qaq ay} 0} Surpr1029" payasse ATJadoad st wrep sy} YOTYM JsuTese (s)10}qQaq] JY} $}2[Je1 10}qaq] PalFIPOW ‘NOLLVIIJIGOW WOA NOSVAt

96° P9CS TeyoOWqnS

*di05 Z0€0-980SZ XL ‘ONV1d

SPZETS$ pampasuy) sSurppoy amyng Adiauq Z0€098 XOG ‘Od

DTI Auedwop ‘dio ANVdANOD Alddns

SETS (6)(q)e0¢ SUT JueUnMNY | gh ZE1$ (6)(q)e0s sSurploy amyng AS1augq 988E DIMLOATA WODATEL 92
LINNOWV SO.LV.LS wOLIa INNOWV SOLILV.LS wOLdIa #WIVID aINVN
WIv1D ALMMOnd WIVID ALMOd
qais1GdoWw GaLaassv

SUNIL] JUNOUTY AJIpO| puv 10}qaq Su01M\ — V LIATHXG OL T LIGIHXG ‘(AALLNV.LS40S) SAGININO GUITH.L-ALNAML

7899 “TMOD SONIGTON FANALAA ADWANA
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9¢ JO gz ae

s}UNOUe paulusajapun Jo/pue payepmbryun sureywod usreypp sayesrpuy - ,

“Sp10I91 pure SxO0 ,$10}qaq] 0} SUTPIOI9e Pamo JUNO sparjar JuNOWe
PaTJFIPO ‘spiodai pur syxoog ,$10}qaq] ay} 0} SuTpaosse payzasse Apradoad st wrep ayy YITYM Jsurese (s)10}qacCq BY} SPaTJer 10}Gaq] PatF{POW ‘NOLLVOMIAGOW WOd NOSVAY

F0'L9T$ qTeq01qQnS
‘dioD L0€0-980SZ X.L’‘ONV 1d
ZS'E8$ paimpsasuy, sSurppoy amyny Asiauq Z0€098 XO Od
DTI Auedu05 “dio ANVdWOD ATddnsS
ZS'E8S (6)(a)e0¢ juamaseury] PA0ID FLO | ZS'ER$ (6)(q)¢0s sSurploy amnyng ASrauq T6se DMLLDAIA WODATAL 8

PaljJIpo| ‘Sps03aI pue s00q ,S10}qaq ayy 0} BuIpI0I9¥ payas

DTT Aueduso>

9L'97$ (6)(a)e0¢ Surry, yueurwn]

ZECSS Te103qnS
‘dioy
9L'97$ pampasug sZurploy amyny ASauy
‘diop
9L'9t$ (6)(4)¢0s sdurp[oH emnyng Ad19ug

“Sp109a1 pure syoog ,S10}qaq] 0} ZUrpi0d3e pamo JuNOWe sPalja1 yunowe
se Ayzadoid st wreys ay} yoTyM ysurese (s)10}qaq ay} SPa[JaI 101qaq PeTJIPOW -NOLLVOMIGOW WOd NOSVIe

Z0€0-980S2 XL “ONV1d
20€098 XOd “O'd
XNVdWOD) AlddNs

068° OIMLOATA WODATEL 08

“Sp1OIaI pur SyO0 S10}qaq 0} SUTP10I9e paMo JUMOUTe $}9]Ja7 JUNOT
PatsIpo| ‘Sp10da1 pue soo ,810}qaq] 3y} 0} BuUTPI0IIe payrasse Ajrodoad st ue_D ayy YNTM JsuTeBe (s)10}qQaq_ Jy} $}a]JaI 10}qaq] PaljIPOW ‘NOLLVIIZIGOW WOdA NOSVA

OF'98$ TeJ03qng

‘dio L0€0-980SZ X.L ‘ONV'1d

Ozer pambdasuy) ssurTploy emyny ABsouq Z0€098 XO@ ‘O'd

> 171 Auedu05 “di05 ANVdWNOD A1ddN$

0z'EhS (6)(q4)e0¢ yuamaSeury aaory FeO | O7'EFS (6)(q)e0¢ sSurploy amyny ABsaugq 688¢ DIMLOATA WODATAL 64
LNQOWV SOLV.LS WOLGIa LINNOWV SQLVIS YOLGIG #WIVID AAVN
WIV1ID ALIMOMNd WIV1D ALIMONd
Gaididonw Ga Laassv

SMIG[D JUNOWY AJIPOYA] pue 10}qaq Su01 MA — V LIGTHXa OL T LISTHXa ?(AALLNV.LS80S) SASININO GUIHL-ALNAAL

T®2 “dYOO SONIGMION AAN.LAA ADWANGA
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9¢ JO 67 ABE

syUnowe paundisjapun Jo/pue payepmmbiyun sureywod uTe]D sayedrpuy - ,

‘spx0daI pur sx00q ,810}qaq] 0} SuTpIOD9e pamo JuNOW $}9]J31 JUNOUTE
Parympoyy "sp10dax pue syooq ,510}qaq] ayy 0} Surpz099" paysasse Apradoad st wyETD ay} yDTYM JsuTeZe (s)10}q9q BY} sparjaz 10349 PITFIPOW ‘NOLLVOMIGOW YOd NOSV4a

09°20z$ [e103qng
‘di05 LO€0-980SZ XL ‘ONV1d
O8'60T$ pampasuy ssurploy amyny Adrauq Z0€098 XO Od
DTI Auedwo5 “dio ANVdWOD Alddns
08'cOL$ (6)(4)e0S woyeiauas JueUTUNT | O8'E0L$ (6)(a)e0s sSurp[oy ainyng ASr0uq P68E DNIDITY WODATAL #8

PaTJIpo| ‘Sp10IaI pu syxoog ,S10}qaq ay} 0} ZuTps0I9e papas

“SPLOOOI pue syxooq ,S10}q3q 0} Surpi0z3e peMmo junoure spopjer unowe
se Aqradoad st wrep ayy yoy ysuredse (s)10}q9q] BY} $}a]Jaz 10}Qeq] PalsIPoW :NOLLVOIIGOW WOd NOSVAY

Z8°L9$ Te}03}qnS
"dio ZO€0-980SZ XL ‘ONV1d
16'8z$ pampasuy) ssurploy amnyng AS1auq Z0€098 XO Od
DTI Auedwo05 “dioD ANVdANOD ATddNS
16'87$ (6)(q)¢0S Suruyy jueurumny | 16'8zs (6)(a)<os sSurpjoy amyng ASxauq £68 DIMLOATI WOOAUTEL = €8

‘splodal1 pur syood ,10}qaqj 0} BSUTPIOIIe PaMmo JuNOUWR spaljar yUNOWe
PaljJIpoy ‘sproda1 pure syooq ,S10}qaq ayy 0} SUTpIOIIe paysasse AjJadoad st wre] ayy YOTYM ysuTese (s)10}qQ aq] ayy SPaTJar 10}q2aq] PelJIPOW -NOLLVOMIGOW YOd NOSVAN

Z6'LPES [ejoiqns

“dio Z0€0-980SZ X.L‘ONV1d

96°EL1$ pampasuy) s8urploy emyny AB1auq Z0€098 XOG Od

DTT AuedwoD ‘dio ANVdWNOD Alddns

96°EL1$ (6)(q)e0s Sur yueurmny] | 96€Z1$ (6)(q)e0¢ sSurppoyy amyny ABsauq Z68E DIMLDATA WODATAL = 78
INNOWV SOLVIS WOLGIa INNOWV SNLVLS woOL@a #WIVID AIAWN
WIV1D ALIMOMd WIV1D ALMIONId
daisgIGOW CaLWassv

SUWIE[D JUNOUTY AJIPOTA, PuL 10}GQaq Su01AKA — V LIGTHXA OL T LISTHX’ :(AALLNV.LSANS) SOSTNINO GUIHLL-A.LNAALL

T2899 “duOD SONIGTION FAALAA ADWANA
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9¢ JO OE ade

DT1 Aurdwo>

woyelauasy JUeUTUIN]

09°69$ (6)(@)e0s

sJUNOW pautulsajapun 10/pue payepmmbrpun sureywod unre saqyeorpuy - .,

“sp10I91 puke sxOod ,S10}qaq] 0} ZUTPi0s3.e paMmo yuNowe s79]Ja1 JUNO
Papo] ‘spx0d9az pure syxood ,s10}qaq ayy 0} Surpzosvse poyasse Apsadoad st unep ay} yon ysurese (s)10}qQaq 9YyJ Speer 10}qeq] PetIPOW ‘NOLLVOITIGOW Od NOSViu

07 6ETS TeJ03qnsS
‘dioD
09°69$ pomoesuy s8urploy aimyny Adiouy
*diop
09°69$ (6)(a)¢os ssurpoH emyng AB19uy

LOE0-980S2Z XL ‘ONV1d
40€098 XO4d Od
XNVdWOD ATddNnS

868E ONDA WOOATLL 28

PelFPoy ‘spiosaz pue syoog ,$10}qaq ay} 0} Surpr0dIe paysas

JT] Aueduo

ST'STE$ (6)(q)E0s Sururyy JueuTNy

0€'9E9$ [e10yqns
*diop
ST'SIE$ paimdesun sSurploy ainyny Adzauy
‘dio>
SUStes (6)(a)eos ssurpoH aanyng Adauy

“Sp103a1 puke SyOOg ,SIO}qIq] O} BUIPIOIIe pamo JUNOWe s}a[Jo1 JUNOUTE
se Ayradoad st urrepd ay} YITYM ysuTEse (s)10}qQaq] BY} sPaTjar 101qQaq PalsIpoW ‘NOLLVOIIGOW WOr NOSVIY

L0€0-98054 XL “‘ONV1d
Z0€098 XOd Od
ANVdWOD XATddNs

968¢ JMILOATA WOODATAL 98

“Sp10JaI pur SxOO ,S10jqeq 0} SUTPIOIIe paMmo JUNOUIE $}Ia[Ja1 JUNOUTE
PelLIpo| ‘sp1osa1 puke sxoog ,s10}qaq ay} 0} SuTp1099e payzasse Apradoard st up ayy YN JsuTese (s)10}qaq_ FY} SPaTjJar 10}qaq] PalsIpOW] ‘-NOLLWOLAIGOW WOdA NOSVAY

OF LZTE$ Tejo1qns

“di0D LO€0-980S2 XL ‘ONV1d

OZ'SST$ pamoasuy) sSurploy ainyng AS13uq L0€098 XOd Od

DTI AueduroD ‘dio ANVdWOD AT1ddn$

OZ'8ST$ (6)(q)e0¢ juamaseury] aa0ry AeO | OZ'SST$ (6)(q)e0¢ sSurproyy amyng Adsauyq S68 DMLOAW WOOFTAL = &8
INNOWY SOLV.LS WOLsaa INNOWYV SALV.LS WOLWa #WIVID aIAWN
WIV1D ALIMOMId WIVID ALMONId
GaididoW daLaassv

SUED JUNOUTY AJIPOJA] PUL 10jqQoq Su01\\ — VY LIGTHXd OL t LISUHXa *(AALLNV.LS0S) SASININO (HL-ALNAML

TB) “daOO SONIGTION WALA ADWANA
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9¢ JO Te adeg

syUNOWe paulmzajepun Jo/pue payepmbrpum sureywoo wre sayeorpuy - ,

*Sp10001 Pur SxO0 ,S10}qGaq 0} SUTpIOI9e Pamo JuMOWE spaTJar JFuNowe
PITJIPO|] ‘Sp109a1 pue syx00q ,S10}qaQ ay} 0} Surproz.e payrasse Apsodord sy wrep ayy YSTYM JsuTese (s)10}qaq] ayy SPoTJaI 10}qoq] PetsIPpOW -NOLLVOMIGOW WOd NOSVAd

8c TELS yeq}o3qns
“dio ZO€0-980SZ XL ‘ONV1d
79'59$ pampasuy) sSurpjoy amyny Adiauq Z0€098 XO Od
DTI AuedwuoD “dio ANVdWOD AlddNs
79'S9$ (6)(a)E0¢ woryesauasy yueuTUNT] | $9°99$ (6)(q)e0s sSurploy amyny Adiauq ZO6E DIMLOATA WODATAL 06

ZT] Auedwo>

UoOHeIIUst) JUCUTUIN'T

TILES (6)(q)€0s

“sp103a1 pur SYOOg ,SI0}qacj 0} BuUIpI0IIe pamo JuNOWe sPaljas JUNOUTE
PITFIPOY “sprOIaI pue syx00q ,S10}qaqq JY} 0} SuUTPIOIIe payzasse AyJadoad st wep ay} YDTYM ysuTeZe (s)10}qQaq_ ay] $}9]J92 10342] PaIFIPOW ‘NOLLVOIMIGOW WOA NOSVI

PO'SLTS$ Te103qnsg
*diop
ZS'L8$ pamoesuy s3urploy] amyny Adour
‘dioD
Z7S°L8$ (6)(a)e0s ssurploy amnyny ABrauq

ZO€0-980S4 X.L ‘ONV1d
Z0€098 XOd Od
XNVdWNOD ATddNS

WO6e OMILOATA WOODALL 68

‘Sp1odaI PUR sx00q ,SIO}qaq 0} SUTPIODIe paMmo JyuNOW spayjar JUNOWe
PalJIpoy] ‘Spio0daz pur syxooq ,S10}qQaq] By} 0} BuTpIOIIe paylasse Apadoad st wre ayy YM ysuTede (s)10}qQaq] SY} SPaTjaI 10}qQaq paisIpoW -NOLLVOLIIGOW AOA NOSVAU

00'ZLTS Te}o}qnS

“dio L0€0-980SZ X.L‘ONV 1d

00°98$ pamdesuy] ssurploy amyny ASrawy Z0€098 XOd Od

DTI "di0D ANVdANOD AlddNS

00°98$ (6)(q)e0s Aueduso> Jamog Mopurs | 90°98$ (6)(q)¢0s sSurIploy amyny ASriauq 668E DRLLOATA WODATAL = 88
INNOWV SNLVLS wOLIia INQOWY SO.LV.LS WOLGG #WIVID aAVN
WIvV1ID ALIMOTd WIVID ALMMONId
dalIdow GaLwassv

SUED JUNOUTY AJIPOY Pue 10}qQoq Su01M — V LIGIHXA OL T LISVHXa *GAALLNV.LSANS) SAEININO CATHLL-A.LNAAAL

Te 39 “dUOD SONIG ION FAALAA ADWANA
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9g JO Ze ae

sJUNOWe paupwiajapun 10/pue payepmmbiyun sureyuod wield sayesrpuy - ,,

‘Sp10D9I PUE SOO ,S10}qaq] 0} ZUIPIOI9e paMmo JuNOW s}a]Jar JUNO
PaTLpoyy “*spsodaz pure sxo0q ,510]qaqq ay} 0} Surps0dIe payzasse Apradoad st wyep ayy YDTYM surede (s)10}qaq] Byy S}e7TJex 10349] PIIFIPOW ‘NOLLVOIZIGOW WOdA NOSVAA

OL'LZES Te101qns
"dio L0€0-980SZ X.L ‘ONV1d
GSCOTS pamaasuy, sSurploy amy AZsaugq Z0€098 XO Od
DTT AueduroD *dio5 ANVdINOD ATddNs
S8"e9T$ (6)(q)E0¢ woyeraue*s JueuTUIN] | Cg'E9T$ (6)(a)¢os sfurploy ainjng ASrauyq SO6E DRLLOATA WODATAL £6

JT] Auedwop

09°901$ (6)(a)e0s Surry jueurny]

“sp10Ia1 puke sx00q _,S10}qaq 0} Surp103d9e pamo JuNOW. sPaljar JUNO
Papo] *sp10daI pur syxoog ,S10}qacq Byj 0} BurprodIe payasse Apradoud sy wrep ay} yDTYM ysurede (s)10}qaq] BY} SPaTJaz 1034aq PAPO ‘NOLLVOMIGOW WOr NOSVAa

02 ETZ$ Te1o1qns
‘diop
09°90T$ pampeasuy ssurploy amynyg ASiauy
‘diop
09°90T$ (6)(q)¢e0s sSurploy aang ABsauq

LO€0-980SZ X.L ‘ONVTd
20€098 XOd Od
ANVdWNOD ATddNS

b06¢ OMILIATA WOOFTAL

‘splodal puke syoog ,S10jqaq 0} SUTP10I0e paMmo JUNOWE sPaTjar JUNOWe
PelfIPo| ‘sp1osaI pue syood ,S10}qaq 3y} 0} ZUTPIOIIN paysasse ApJadosd st wrep ay} YOTYM JsuTese (s)10}qaq] ay} SPaTJar 10}qQaQq__ PalsIpO|| ‘NOLLVIIIGOW WOA NOSV4Awt

09°9$ Te}07qns

-dioD ZOE0-980SZ X.L ‘ONV1d

oe'e$ pempssuy) sSurploy amyng Adsauq Z0€098 XO4 Od

DTI Auedurop “d105 ANVdNOD A1ddnS

os'e$ (6)(q)¢0s Surury jueuruny | o¢'e$ (6)(a)e0s sSurploy amyng AZrauq £066 DIMLOATA WODATAL 16
INOQOWV SOLVLS wOL@ada INNOWV SOLV.LS wOLaaa #WIVID FIAVN
WIVID ALIMOMd WIVID ALIMOMd
aaidqidow da Laassv

SUNIU]) }UNOUTY AJIpO| puv 10jqoq Bu01A — V LIGTHXa OL T LIGTHXd ?GALLNV.LSANS) SASINIWO CUTH.L-A.LNAALL

T®99 “dYOO SONIGTON WALA ADWANA
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9¢ Jo gg adeg

S}UNOWY paulsajapun 10/pue payepmbrpun sureyuos wirep sayesrpuy - ,,

“sproval pue syxoo ,S10}qgaq 0} SuTprod3e pamo FUNOWe spo[jer JunOUL
PalJIpoY ‘spi0Ia1 pue sx00q ,S10}qaqj BY} 0} Surpsosse payzasse Ajradosd st urpeyD ayy YOTY ysurese (s)10}qaq] dys S}a]Jax 10}qaC] PIFIPOW -NOILVOLMIGOW WOd NOSVAe

90 TES Teq01qns
“dio LOE0-980S4 XL ‘ONV1d
€S'STI$ paimoasuy) sSurploy amyny ABrauq Z0€098 XO Od
DTI Auedwo> “dio ANVdNOD Aldans
€S°STIS (6)(q)e0¢ yuauadeuryy 9a0rsy FLO | ES'STIS (6)(a)0s sSurploy amyny ASiauq 806€ DILLDATA WODATAL 96

PalJIPol ‘Sp10I91 pue syood ,S10}qaq] ay} 0} SUTpI0I9e papas

‘spJOdaI pure syxoog ,si0}qaq 0} Zurpiod3e pamo JuNOUWe s]a1Ja1 yUNOUTE
se Apradoad st ureq> ay} yor ysureZe (s)10}qaq] aU} $}2aTJ8z 10}qaC] PATPOW ‘NOLLVIIIGOW W%Od NOSVaa

0s"090‘T$ Te}01qns
“di0D LOE0-980SZ XL ‘ONV 1d
Gz'0ES$ pammpesuy) ssurploy amyng ABiauq Z0€098 XO Od
DTT Auedwo05 “di05 ANVdWOD Alddns
Gz 0ES$ (6)(q)€0S yuaulaseuey] A015) ALO | SZ'OESS (6)(q)€0S sSuIp[oy emyny Adiauq Z06€ DIMLOAIT WOOATAL — 6

‘spi0daz pur syxoog ,SIo}qaq 0} Burprosoe pamo yUNOWE sparjes JuNoWwe
PITFIPOY ‘Sprodaz pue syooq ,S10}qaqj 3y} 0} SuTps0dIe payasse Asadoxd st wreypD ayy yTYM suTeSe (s)r0]qQaq] BYyy SPalJer 10}qQaq] PITIPOW ‘NOLLVOLIGOW wOdA NOSVAa

O8' Lens Te103qns

“di05 LO0€0-980SZ XL ‘ONV 1d

06'E1z$ pampasuy sSurploy amyny AZsaugq Z0€098 XO Od

DTI Auedwio5 "dioD ANVdWOD ATddNnS

06°ETZ$ (6)(q)e0s yuamadeuryy aa0ss) FLO | 06'E1Z$ (6)(a)¢e0s ssurploy amyng ABsauq 906€ DIMLOATA WOOATAL 6
LNQOWV SOLV.LS WOLIIG INNOWV SO.LVLS WOLGIa #WIVID aIAVN
WIV1D ALON d WIVID ALIMOMd
Gaisigon Ca Lwassv

SUNIE[D JUNOUTY AJIPO|, pu 10}Gqe9q Bu01MK4 — V LIGTHX'a OL T LISMHX’ :(AALLNV.LSANS) SOSININO CUIB.L-A.LNAMAL

‘T8399 “dMOD SONIGTOH WALA ADWANA
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9¢ JO HE ade

syUNOWe paulUiayapun 10/pur payeprnbrpun sureywod wre: sayed1puy -

‘Sp10091 pur syxOo ,SI0}gaq] 0} SUIp10D9e pamo JuNnoWr spayJar yuNowe
PaLIPoy| “sprodaz pure syoog ,s10}qaq] ay} 0} Surpros0e payasse Apiadord st ure ayy yTYM ysurede (s)103q9q BY} $}2]J91 10342 PIYIPOW :NOLLVOLIGOW Od NOSVAU

O€ OPTS TeJoOIqns
“d105 LOE0-980SZ X.L‘ONV 1d
ST'EL$ pampasup) sSurproyy anny ABsauq Z0€098 XO Od
DTI Auedwo5 ‘dio XNVdWNOD AlddNs
ST'EL$ (6)(a)e0s worersuasy JueunUNT | STEZ$ (6)(a)¢0s sSurployy aanyng ASraug Ti6€ DIMLDATA WODATAL 66

DT] Auedwo>

PS'ZOL$ (6)(a)e0s Sura Jueurny

“spi0da1 puke syxooq ,s10}qaq] 0} SuTpr0d9e pamo JuNowe spapjar JUNOWe
PITFIPO ‘Sp1ozar pure syxooq ,5101qaq] By} 0} SuTpr0I9e payasse Apredoad st wrep ay} yor JsureSe (s)10}qaqq ayy SPaTJor 10}Gaq] PalFIpoW| -‘NOLLVOIMIGOW YOdI NOSVAa

80°S07$ Teqo3qns
“dioD
$S'ZOL$ pamsasuy sSuIploy amyny Adouy
*di0D
bS'ZOTS (6)(q)e0¢ sSurIploH emmyny Ad1auq

LO0€0-980SZ XL “ONV 1d
Z0€098 XO Od
XNVdWOD A1ddns

OL6E JRILIATA WODTTAL 86

“sp1001 PUR S00q ,S10}qaCJ 0} BSUTPI0IIe paMmo JUNOWR spaljal JUNOWe
PelfIpoypy ‘spso.ai pure syxoog ,810}qaQJ 9y} 0} SuIpIos9e paprasse Ayradoad st wep ay} YOTYM JsuTese (s)10}qQaq] ay} $yaTJaI 10}qaq] PeJIPOW -NOLLVOLIIGOW WwOl NOSVaw

O0FES'ES jevoyqns

"dio L0€0-980SZ XL ‘ONV 1d

00°292'2$ pampasuy, sSuIploy amyny AB1auq Z0€098 XO" Od

DTI Auedwo5 "dio XNVdWOD Alddns

00°292'Z$ (6)(q)e0¢ Suu yueununy | 00'292'7$ (6)(q)¢0¢ sSurploy anny AZzauq 606 OMLLDATA WOOFTTAL = 26
LNOOWY SOLV.LS WOLIAa INOOWV SOLVLS WOLIIA #WIVID aIATVN
WIV1D ALIMOMd WIV1D ALMOnd
Gaisgidow da Lwassv

SUITE] }UNOUTY AJIPO|, pue 10}qGoq Su0IAA — WV LIGIHXa OL I LISIHX’ ‘(AALLNV.LSS0S) SASINIAO GUIH.L-ALNAML

T8929 “dUOD SONIGTOH FANLAA ADWANA
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9¢ JO ge aSeg

syunoule paunmiajapun 10/pue payeprnbryun sureyuos wre] sayedpuy - ,,

‘(pamo Apradoad st Appiqey yey} Wom 0} Aueduros syyst3o, Ayred pany e sasn 10}qaq) payasse sadseyp yy Starz Joy yUsusn[pe spa[jzor yunOUTE
Papo ‘Spsz0da1 pue syoog ,10}qaq ayy 0} BuTpsod0" payiasse Apradoad st wre]? ayy YOTYM Jsurese (s)10}qaq ay} SPaTsar 10}4aq PITFIPOW -NOLLVOIIGOW OA NOSVAa

SOTZL Wd ‘DUN ASRNIVH
97-8E SIN
g09€ XO Od
DT] Auedwo5 ‘dio> duoDd
TS"SE0’STt$ pammsasuy) woyessuary JURUTUINT] | 82°260'81S pampasun, ssurploy amyng ABiaugq 8666 SDINOWLDATA ODAL ZOL
“sp10da1 pure SyxO0q ,S10}qacqj 0} SUTPI0D9e pamo JuNOWE sPa]jas JUNOWe
PaeljIpoy ‘Sp10daI pue syxood ,SI0}qaq FY} 0} SUTpI0II¥ payzasse AjJadoad st wrey> ayy yoy ysure3e (s)10}qaq ay} SPaTJar 10}q9q PATFIPOW ‘NOLLVOITIGOW WOA NOSVAY
ZE89S qTe}031qnS
“dio ZO€0-980S4 X.L ‘ONW1d
OL bE$ pammdasuy] sSuIp[oy amyny ABsauyq Z0€098 XO Od
317 Auedwo5 “dioD ANVdWOD Adds
OL FE$ (6)(q)e0s Sup yueurany] | oL'pe$ (6)(q)e0¢ sSurploy amyng AB1auq PI6E DIALIATI WODATAL TOL
“Sp1O391 pue syxood ,S10}qaq 0} Surpi0d9e Ppoamo yUHOWE spaijei JuHOWe
pelyIpoy, ‘sprodart pue syooq 410}49qd 3d} 0} Surpr029e PpeHesse Ayradoid ST WITRT 94} Porm ysurese (s)z01qa(q 3y} Spo2[Jer 10}q39q peyTpoW ‘NOLLVOITIGOW wOL NOSVA
89°SZTS qTe}03qnS
‘dio Z0€0-980SZ X.L ‘ONV1d
FS'L9$ pampasuy) sdurpjoy amyng Adsauq 206098 XO Od
ITI Aueduo5 ‘dio ANVdWOD A1ddNS
PS'L8$ (6)(q)E0S yuamaseury aa01y YO | F8Z8$ (6)(a)e0s ssurppoy amy Adiauyq ZL6E OMLIATA WODATAL O00
INQOWV SOLLVLS WOLIIa INNOWV SOLVLS WOLIIAa #WIVID aINWN
WIVID ALIMONd WIV1D ALIMOMd
aaidiqonw daLuassv

SUIE[) }UNOUTY AJIPOy] pue 10;qoq| Su01M — V LIGTHXa OL T LISTHXa ?(AALLNV.LSANS) SASININO CUIH.L-A.LNAML

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O€ JO OF aSeg SyUMOUe paurusJajapunN Jo/pur payepmbrun sureyuos wep sayeorpuy - ,

6EOFT‘LEC'TS IWLOL «29 ETP'ELG TS TVLOL

‘PLOZ/9T/P UO Z6£669Z00T Jaqumu ypayp era pred yuNoue 103 yuauysn{pe s}d9[Ja1 JFUNOWe
PaTJIPO| “SP10IaI pue soo ,S10}qaq ayy 0} SuLpI0IIe payrasse ATIadoad st wep) sy} YoNYM JsuTese (S)10}qaq sy} SPI[JaI 10}qaq PaljIpoW :NOLLVIIMIGOW WOA NOSVA

€20S8 ZV ‘XINHOHd

OST “ALS
‘da MAIACGNVYD “M $797
DTI AueduoD ‘diop OW
$9°8L1$ pampasuy) uoHeIaUas JURUTUINT | $9°0TZ‘TS pampasun, ssuIploH amyng ABrauy Sith - LNAWHODVWNVWALSVM £0
INNOWYV SLLIVIS wOLda INNOWV SALLV.ILS woLadad #WIVID HAWN
WIVID XALNIOMNd WIV1D ALTMWORId
daIdOWw Ca Luassv

SUNIL) JUNOUTY ApIpoy puv 10}qoq Su0144 — V LIADHXa OL I LIGIHXd ?(AALLNV.LS9S) SOSININO CUIH.L-A.LNAML

Te 32 “ddOD SONIGION FANLAA ADWANA
